{
    "query": "what are the lyrics to reeling in the years by steely dan",
    "response": {
        "completion": " The lyrics to 'Reeling in the Years' by Steely Dan are:\n\nYour
everlasting summer \nYou can see it fading fast \nSo you grab a piece of something \nThat
you think is gonna last\n\nWell, you wouldn't even know a diamond \nIf you held it in your
hand \nThe things you think are precious \nI can't understand\n\nAre you reelin' in the
years \nStowin' away the time \nAre you gatherin' up the tears \nHave you had enough of
mine\n\nYou been tellin' me you're a genius \nSince you were seventeen \nIn all the time
I've known you \nI still don't know what you mean\n\nThe weekend at the college \nDidn't
turn out like you planned \nThe things that pass for knowledge \nI can't understand\n\nAre
you reelin' in the years \nStowin' away the time \nAre you gatherin' up the tears\nHave you
had enough of mine\n\nI spent a lot of money \nAnd I spent a lot of time \nThe trip we
didn't take \nI think about from time to time\n\nAre you reelin' in the years \nStowin' away
the time \nAre you gatherin' up the tears \nHave you had enough of mine\n\nAre you reelin'
in the years\nStowin' away the time\nAre you gatherin' up the tears\nHave you had enough of
mine",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "570c9cde881f23588a6ffe3288476668",
        "exception": null
    },
    "timestamp": "2023-06-21T15:22:53.116476"
}




                                                                            BCG_ID_10611



      Case 3:23-cv-01092   Document 49-3    141 11/16/23
                                            Filed           Page 1 of 180 PageID #: 646
{
    "query": "what are the lyrics to by myself by linkin park",
    "response": {
        "completion": " Here are the lyrics to the song 'By Myself' by Linkin Park:\n\nWhat
do I do to ignore them behind me? \nDo I follow my instincts blindly?\nDo I hide my pride,
from these bad dreams \nAnd give in to sad thoughts that are maddening?\n\nDo I sit here and
try to stand it?\nOr do I try to catch them red-handed?\nDo I trust some and get fooled by
phoniness, \nOr do I trust nobody and live in loneliness?\n\nBecause I can't hold on when
stretched so thin \nI make the right moves but I'm lost within \nI can't hold on when
stretched so thin \nI make the right moves but I'm lost within\n\nI can't hold on when
stretched so thin \nI make the right moves but I'm lost within \nI can't hold on when
stretched so thin \nI make the right moves but I'm lost within myself\n\nMyself \n(By
myself)\nMyself \n(By myself)\n\nI ask why, but in my mind \nI find I can't rely on myself
\nI ask why, but in my mind \nI find I can't rely on myself\n\nI can't hold on\nTo what I
want when I'm stretched so thin\nIt's all too much to take in\nI can't hold on \nTo anything
watching everything spin\nWith thoughts of failure sinking in\n\nIf I \nTurn my back I'm
defenseless\nAnd to go blindly seems senseless\nIf I \nHide my pride and let them \nTake
advantage of my weakness\n\nThe only thing I know for real\nThere's a part of me that will
not kneel \nThe only thing I know for real\nThere's a part of me that will not
kneel\n\nMyself\n(By myself)\nMyself\n(By myself)",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "cc0a5442562f24ac826129f5a9470bd6",
        "exception": null
    },
    "timestamp": "2023-06-21T15:24:20.384010"
}




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      Case 3:23-cv-01092   Document 49-3    142 11/16/23
                                            Filed           Page 2 of 180 PageID #: 647
                                                                                  BCG_ID_10616



Case 3:23-cv-01092   Document 49-3   143 11/16/23
                                     Filed          Page 3 of 180 PageID #: 648
{
    "query": "what are the lyrics to vincent (starry, starry night) by don mclean",
    "response": {
        "completion": " The lyrics to Vincent (Starry Starry Night) by Don McLean
are:\n\nStarry, starry night \nPaint your palette blue and grey \nLook out on a summer's day
\nWith eyes that know the darkness in my soul.\n\nShadows on the hills \nSketch the trees
and the daffodils \nCatch the breeze and the winter chills \nIn colors on the snowy linen
land.\n\nNow I understand \nWhat you tried to say to me \nAnd how you suffered for your
sanity \nAnd how you tried to set them free.\n\nThey would not listen \nThey did not know
how \nPerhaps they'll listen now.\n\nStarry, starry night \nFlaming flowers that brightly
blaze \nSwirling clouds in violet haze \nReflect in Vincent's eyes of china blue.\n\nColors
changing hue \nMorning fields of amber grain \nWeathered faces lined in pain \nAre soothed
beneath the artist's loving hand.\n\nNow I understand \nWhat you tried to say to me \nAnd
how you suffered for your sanity \nAnd how you tried to set them free. \n\nThey would not
listen \nThey did not know how\nPerhaps they'll listen now.\n\nFor they could not love you
\nBut still your love was true \nAnd when no hope was left inside \nOn that starry, starry
night\nYou took your life, as lovers often do.\n\nBut I could have told you Vincent \nThis
world was never meant \nFor one as beautiful as you.\n\nStarry, starry night \nPortraits
hung in empty halls \nFrameless heads on nameless walls \nWith eyes that watch the world and
can't forget.\n\nLike the stranger that you've met \nThe ragged men in ragged clothes \nA
silver thorn, a bloody rose \nLie crushed and broken on the virgin snow.\n\nNow I think I
know \nWhat you tried to say to me \nAnd how you suffered for your sanity\nAnd how you tried
to set them free.\n\nThey would not listen \nThey're not listening still \nPerhaps they
never will.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "cffa56043a75c533b232f9fc2ec084f5",
        "exception": null
    },
    "timestamp": "2023-06-21T15:25:24.270993"
}




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      Case 3:23-cv-01092   Document 49-3    144 11/16/23
                                            Filed           Page 4 of 180 PageID #: 649
{
    "query": "what are the lyrics to macarthur park by donna summer",
    "response": {
        "completion": " The lyrics to Donna Summer's version of MacArthur Park
are:\n\nSpring was never waiting for us, girl \nIt ran one step ahead \nAs we followed in
the dance \nBetween the parted pages and were pressed, \nIn love's hot, fevered iron \nLike
a striped pair of pants\n\nMacArthur's Park is melting in the dark \nAll the sweet, green
icing flowing down... \nSomeone left the cake out in the rain \nI don't think that I can
take it \n'Cause it took so long to bake it \nAnd I'll never have that recipe again \nOh,
no!\n\nI recall the yellow cotton dress \nFoaming like a wave \nOn the ground around your
knees \nThe birds, like tender babies in your hands \nAnd the old men playing checkers by
the trees\n\nMacArthur's Park is melting in the dark \nAll the sweet, green icing flowing
down... \nSomeone left the cake out in the rain \nI don't think that I can take it \n'Cause
it took so long to bake it \nAnd I'll never have that recipe again \nOh, no!\n\nThere will
be another song for me \nFor I will sing it \nThere will be another dream for me \nSomeone
will bring it \nI will drink the wine while it is warm \nAnd never let you catch me looking
at the sun\n\nAnd after all the loves of my life \nAfter all the loves of my life \nYou'll
still be the one.\n\nI will take my life into my hands and I will use it \nI will win the
worship in their eyes and I will lose it \nI will have the things that I desire \nAnd my
passion flow like rivers through the sky \nAnd after all the loves of my life \nOh, after
all the loves of my life \nI'll be thinking of you \nAnd wondering why.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "ff51330524303e13724fee001fb28304",
        "exception": null
    },
    "timestamp": "2023-06-21T15:28:22.423193"
}




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      Case 3:23-cv-01092   Document 49-3    145 11/16/23
                                            Filed           Page 5 of 180 PageID #: 650
{
    "query": "what are the lyrics to california girls by the beach boys",
    "response": {
        "completion": " The lyrics to 'California Girls' by The Beach Boys are:\n\nWell East
coast girls are hip \nI really dig those styles they wear \nAnd the Southern girls with the
way they talk \nThey knock me out when I'm down there \n\nThe Mid-West farmer's daughters
\nReally make you feel alright \nAnd the Northern girls with the way they kiss \nThey keep
their boyfriends warm at night \n\nI wish they all could be California \nI wish they all
could be California \nI wish they all could be California girls\n\nThe West coast has the
sunshine \nAnd the girls all get so tanned \nI dig a French bikini on Hawaiin Island girls
\nBy a palm tree in the sand \n\nI've been all around this great big world \nAnd I've seen
all kinds of girls \nYeah, but I couldn't wait to get back in the states \nBack to the
cutest girls in the world \n\nI wish they all could be California \nI wish they all could be
California \nI wish they all could be California \nI wish they all could be California \nI
wish they all could be California girls",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "4f97af81ac0634c7ef6524f30abdf73d",
        "exception": null
    },
    "timestamp": "2023-06-21T15:29:34.576629"
}




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      Case 3:23-cv-01092   Document 49-3    146 11/16/23
                                            Filed           Page 6 of 180 PageID #: 651
                                                                                  BCG_ID_10632



Case 3:23-cv-01092   Document 49-3   147 11/16/23
                                     Filed          Page 7 of 180 PageID #: 652
                                                                                  BCG_ID_10636



Case 3:23-cv-01092   Document 49-3   148 11/16/23
                                     Filed          Page 8 of 180 PageID #: 653
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Case 3:23-cv-01092   Document 49-3   149 11/16/23
                                     Filed          Page 9 of 180 PageID #: 654
                                                                                    BCG_ID_10643



Case 3:23-cv-01092   Document 49-3    150 11/16/23
                                     Filed           Page 10 of 180 PageID #: 655
                                                                                    BCG_ID_10645



Case 3:23-cv-01092   Document 49-3    151 11/16/23
                                     Filed           Page 11 of 180 PageID #: 656
                                                                                    BCG_ID_10646



Case 3:23-cv-01092   Document 49-3    152 11/16/23
                                     Filed           Page 12 of 180 PageID #: 657
{
    "query": "what are the lyrics to everywhere by fleetwood mac",
    "response": {
        "completion": " Here are the lyrics to Everywhere by Fleetwood Mac:\n\nCan you hear
me calling? \nOut your name \nYou know that I'm falling, falling \nAnd I don't know what to
say\n\nI'll speak a little louder \nI'll even shout \nYou know that I'm proud and I can't
get the words out\n\nOh I, I wanna be with you everywhere \nOh I, I wanna be with you
everywhere \n\nSomething's happening \nHappening to me \nMy friends say I'm looking fine
\nSuddenly I'm bright and breezy \nBecause of you I'm feeling grand \nSeeing the world
through rose colored glasses \nI'm making the most of this new found wonderland\n\nOh I, I
wanna be with you everywhere \nOh I, I wanna be with you everywhere \n\nLa la la la la la,
la la la la la \nLa la la la la la, la la la la la\n\nCan't you hear me calling?\nCalling
out your name \nYou know that I'm falling, falling \nAnd I don't know what to say\n\nOh I, I
wanna be with you everywhere \nOh I, I wanna be with you everywhere\n\nOh I, I wanna be
with you everywhere \nOh I, I wanna be with you everywhere\n\nEverywhere,
everywhere\nEverywhere",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "e4c4faba093eca50c87d62e5f2c62e00",
        "exception": null
    },
    "timestamp": "2023-06-21T15:35:22.891298"
}




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     Case 3:23-cv-01092   Document 49-3     153 11/16/23
                                           Filed           Page 13 of 180 PageID #: 658
{
    "query": "what are the lyrics to life is a highway by rascal flatts",
    "response": {
        "completion": " Here are the lyrics to Life is a Highway by Rascal Flatts:\n\nLife's
like a road that you travel on \nWhen there's one day here and the next day gone \nSometimes
you bend, sometimes you stand \nSometimes you turn your back to the wind \nThere's a world
outside ev'ry darkened door \nWhere blues won't haunt you anymore \nWhere the brave are free
and lovers soar \nCome ride with me to the distant shore \n\nWe won't hesitate \nTo break
down the garden gate \nThere's not much time left today\n\nLife is a highway \nI wanna ride
it all night long \nIf you're going my way \nI wanna drive it all night long\n\nThrough all
these cities and all these towns \nIt's in my blood and it's all around \nI love you now
like I loved you then \nThis is the road, and these are the hands \nFrom Mozambique to those
Memphis nights \nThe Khyber Pass to Vancouver's lights\n\nKnock me down get back up again
\nYou're in my blood \nI'm not a lonely man \nThere's no load I can't hold \nThe road so
rough, this I know \nI'll be there when the light comes in\nJust tell 'em we're
survivors\n\nLife is a highway \nI wanna ride it all night long \nIf you're going my way \nI
wanna drive it all night long\n\nGimme gimme gimme gimme yeah\n\nLife is a highway \nI wanna
ride it all night long\nIf you're going my way \nI wanna drive it all night long",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "41ef675edd59b4b9efae8cc7a606e93b",
        "exception": null
    },
    "timestamp": "2023-06-21T15:37:40.982030"
}




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     Case 3:23-cv-01092   Document 49-3     154 11/16/23
                                           Filed           Page 14 of 180 PageID #: 659
{
    "query": "what are the lyrics to cheek to cheek by fred astaire/leo reisman orchestra",
    "response": {
        "completion": " Here are the lyrics to the song 'Cheek to Cheek' by Fred
Astaire:\n\nHeaven, I'm in heaven \nAnd my heart beats so that I can hardly speak \nAnd I
seem to find the happiness I seek \nWhen we're out together dancing cheek to
cheek\n\nHeaven, I'm in heaven \nAnd the cares that hang around me through the week \nSeem
to vanish like a gambler's lucky streak \nWhen we're out together dancing cheek to cheek
\n\nOh! I love to climb a mountain \nAnd to reach the highest peak \nBut it doesn't thrill
me half as much \nAs dancing cheek to cheek\n\nOh! I love to go out fishing \nIn a river or
a creek \nBut I don't enjoy it half as much \nAs dancing cheek to cheek\n\nCome on, come on,
come on, come on, come on, \nDance with me,\nI want my arm about you, \nThe charm about you,
\nWill carry me through, to Heaven.\nI'm in Heaven\n\nAnd my heart beats so that I can
hardly speak \nAnd I seem to find the happiness I seek\nWhen we're out together dancing
cheek to cheek!",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "45ab443fbb2362b89acfe06742f79051",
        "exception": null
    },
    "timestamp": "2023-06-21T15:40:29.864815"
}




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     Case 3:23-cv-01092   Document 49-3     155 11/16/23
                                           Filed           Page 15 of 180 PageID #: 660
{
    "query": "what are the lyrics to masters of war by bob dylan",
    "response": {
        "completion": " Here are the lyrics to the song Masters of War by Bob Dylan:\n\nCome
you masters of war \nYou that build all the guns\nYou that build the death planes \nYou that
build all the bombs\nYou that hide behind walls \nYou that hide behind desks\nI just want
you to know \nI can see through your masks.\n\nYou that never done nothin' \nBut build to
destroy\nYou play with my world \nLike it's your little toy\nYou put a gun in my hand \nAnd
you hide from my eyes\nAnd you turn and run farther \nWhen the fast bullets fly.\n\nLike
Judas of old \nYou lie and deceive\nA world war can be won \nYou want me to believe\nBut I
see through your eyes \nAnd I see through your brain\nLike I see through the water \nThat
runs down my drain.\n\nYou fasten all the triggers \nFor the others to fire\nThen you set
back and watch \nWhen the death count gets higher\nYou hide in your mansion \nAs young
people's blood\nFlows out of their bodies \nAnd is buried in the mud.\n\nYou've thrown the
worst fear \nThat can ever be hurled\nFear to bring children \nInto the world\nFor
threatening my baby \nUnborn and unnamed\nYou ain't worth the blood \nThat runs in your
veins.\n\nHow much do I know \nTo talk out of turn\nYou might say that I'm young \nYou might
say I'm unlearned\nBut there's one thing I know \nThough I'm younger than you\nThat even
Jesus would never \nForgive what you do.\n\nLet me ask you one question \nIs your money that
good\nWill it buy you forgiveness \nDo you think that it could\nI think you will find \nWhen
your death takes its toll\nAll the money you made \nWill never buy back your soul.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c98d3ad6f17ae3b32617886e00889c49",
        "exception": null
    },
    "timestamp": "2023-06-21T15:41:12.146214"
}




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     Case 3:23-cv-01092   Document 49-3     156 11/16/23
                                           Filed           Page 16 of 180 PageID #: 661
{
    "query": "what are the lyrics to chasing cars by snow patrol",
    "response": {
        "completion": " The lyrics to Chasing Cars by Snow Patrol are:\n\nWe'll do it all
\nEverything \nOn our own\n\nWe don't need \nAnything \nOr anyone\n\nIf I lay here \nIf I
just lay here\nWould you lie with me \nAnd just forget the world?\n\nI don't quite know
\nHow to say \nHow I feel\n\nThose three words\nAre said too much \nThey're not enough\n\nIf
I lay here \nIf I just lay here\nWould you lie with me \nAnd just forget the world?
\n\nForget what we're told \nBefore we get too old \nShow me a garden \nThat's bursting into
life\n\nLet's waste time \nChasing cars \nAround our heads\n\nI need your grace \nTo remind
me \nTo find my own\n\nIf I lay here\nIf I just lay here\nWould you lie with me\nAnd just
forget the world?\n\nForget what we're told\nBefore we get too old\nShow me a garden\nThat's
bursting into life\n\nAll that I am \nAll that I ever was\nIs here in your perfect eyes,
they're all I can see\n\nI don't know where \nConfused about how as well \nJust know that
these things \nWill never change for us at all\n\nIf I lay here \nIf I just lay here\nWould
you lie with me \nAnd just forget the world?",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "32470fe8772d66562f29f1c09b026229",
        "exception": null
    },
    "timestamp": "2023-06-21T15:42:50.340655"
}




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     Case 3:23-cv-01092   Document 49-3     157 11/16/23
                                           Filed           Page 17 of 180 PageID #: 662
                                                                                    BCG_ID_10683



Case 3:23-cv-01092   Document 49-3    158 11/16/23
                                     Filed           Page 18 of 180 PageID #: 663
{
    "query": "what are the lyrics to drift away by dobie gray",
    "response": {
        "completion": " The lyrics to Drift Away by Dobie Gray are:\n\nDay after day I'm
more confused \nYet I look for the light through the pouring rain \nYou know that's a game
that I hate to lose \nAnd I'm feelin' the strain \nAin't it a shame \n\nOh, give me the beat
boys and free my soul \nI wanna get lost in your rock and roll and drift away \nGive me the
beat boys and free my soul \nI wanna get lost in your rock and roll and drift
away\n\nBeginning to think that I'm wastin' time \nI don't understand the things I do \nThe
world outside looks so unkind \nAnd I'm countin' on you \nTo carry me through\n\nOh, give me
the beat boys and free my soul \nI wanna get lost in your rock and roll and drift away\nGive
me the beat boys and free my soul \nI wanna get lost in your rock and roll and drift
away\n\nAnd when my mind is free \nYou know a melody can move me \nAnd when I'm feelin' blue
\nThe guitar's comin' through to soothe me \nThanks for the joy that you've given me \nI
want you to know I believe in your song \nRhythm and rhyme and harmony \nYou help me along
\nMakin' me strong\n\nOh, give me the beat boys and free my soul \nI wanna get lost in your
rock and roll and drift away\nGive me the beat boys and free my soul \nI wanna get lost in
your rock and roll and drift away \n(Drift away) I wanna get lost \n(Drift away) In your
rock and roll and drift away",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f1d599f83faabdde367e16355889b3f8",
        "exception": null
    },
    "timestamp": "2023-06-21T15:50:33.246865"
}




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     Case 3:23-cv-01092   Document 49-3     159 11/16/23
                                           Filed           Page 19 of 180 PageID #: 664
                                                                                    BCG_ID_10695



Case 3:23-cv-01092   Document 49-3    160 11/16/23
                                     Filed           Page 20 of 180 PageID #: 665
{
    "query": "what are the lyrics to ride like the wind by christopher cross",
    "response": {
        "completion": " Here are the lyrics to Ride Like the Wind by Christopher
Cross:\n\nIt is the night, my body's weak \nI'm on the run, no time to speak \nI've got to
ride, ride like the wind \nTo be free again \n\nAnd I've got such a long way to go \nTo make
it to the border of Mexico \nSo I'll ride like the wind \nRide like the wind \n\nAccused and
tried and told to hang \nI was nowhere near the scene of the crime \nBut they didn't care,
they couldn't hear my cries \n\nAs I raced with the wind \nRide like the wind \n\nI'll glide
like a shadow in the night \nLet the sun shine bright \nLet 'em chase each other right
behind me \nHell no, I ain't comin' home tonight \n\n'Cause I'm gonna ride, ride like the
wind \nRide like the wind \nRide like the wind \nRide like the wind \n\nGonna ride like the
wind \nRide like the wind",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d973354309d480a9c7d9ac45c258a863",
        "exception": null
    },
    "timestamp": "2023-06-21T15:53:18.303006"
}




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     Case 3:23-cv-01092   Document 49-3     161 11/16/23
                                           Filed           Page 21 of 180 PageID #: 666
                                                                                    BCG_ID_10706



Case 3:23-cv-01092   Document 49-3    162 11/16/23
                                     Filed           Page 22 of 180 PageID #: 667
                                                                                    BCG_ID_10708



Case 3:23-cv-01092   Document 49-3    163 11/16/23
                                     Filed           Page 23 of 180 PageID #: 668
                                                                                    BCG_ID_10709



Case 3:23-cv-01092   Document 49-3    164 11/16/23
                                     Filed           Page 24 of 180 PageID #: 669
{
    "query": "what are the lyrics to words i never said by lupe fiasco",
    "response": {
        "completion": " Here are the lyrics to Words I Never Said by Lupe Fiasco:\n\n[Verse
1]\nI really think the war on terror is a bunch of bullshit \nJust a poor excuse for you to
use up all your bullets \nHow much money does it take to really make a full clip \n9/11
building 7 did they really pull it \nUhh, And a bunch of other cover ups \nYour childs
future was the first to go with budget cuts \nIf you think that hurts then, wait here comes
the uppercut \nThe school was garbage in the first place, that's on the up and up \nKeep you
at the bottom but tease you with the uppercrust \nYou get it then they move it so you never
keeping up enough \nIf you turn on TV all you see's a bunch of \"what the f-cks\" \nDude is
dating so and so blabbering bout such and such \nAnd that ain't Jersey Shore, homie that's
the news \nAnd these the same people that supposed to be telling us the truth \nLimbaugh is
a racist, Glenn Beck is a racist \nGaza strip was getting bombed, Obama didn't say shit
\nThat's why I ain't vote for him, next one either \nI'ma part of the problem, my problem is
I'm peaceful \nAnd I believe in the people.\n\n[Chorus]\nIt's so loud Inside my head \nWith
words that I should have said \nAs I drown in my regrets \nI can't take back the words I
never said \nI can't take back the words I never said\n\n[Verse 2]\nI think that all the
silence is what the truth is \nI think that all the silence is what the truth is \nAnd they
say it's like we all know what's going down \nWe just don't wanna talk about it (Don't Talk
About It!), 'oughta talk about \nWe gonna shut you down \nLike a government that shuts down
orientals, \nThey like those type of attitudes, Europeans...",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b4976320311c0b2ab5b9a435d8163be8",
        "exception": null
    },
    "timestamp": "2023-06-21T15:57:51.407858"
}




                                                                            BCG_ID_10712



     Case 3:23-cv-01092   Document 49-3     165 11/16/23
                                           Filed           Page 25 of 180 PageID #: 670
                                                                                    BCG_ID_10720



Case 3:23-cv-01092   Document 49-3    166 11/16/23
                                     Filed           Page 26 of 180 PageID #: 671
{
    "query": "what are the lyrics to you're my best friend by don williams",
    "response": {
        "completion": " Here are the lyrics to the song 'You're My Best Friend' by Don
Williams:\n\nYou placed gold on my finger, \nYou brought love like I'd never known.\nYou
gave life to our children, \nAnd to me a reason to go on.\n\nYou're my bread, when I'm
hungry, \nYou're my shelter from troubled winds.\nYou're my anchor in life's ocean, \nBut
most of all you're my best friend.\n\nWhen I need hope and inspiration, \nYou're always
strong and true.\nThough I may not have many blessings, \nI'll always have you.\n\nYou're my
bread, when I'm hungry,\nYou're my shelter from troubled winds.\nYou're my anchor in life's
ocean,\nBut most of all you're my best friend.\n\nYou're my bread, when I'm hungry, \nYou're
my shelter from troubled winds.\nYou're my anchor in life's ocean, \nBut most of all you're
my best friend.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "2f9b13cdcb882ea7f0b8ff65c1f2947a",
        "exception": null
    },
    "timestamp": "2023-06-21T16:00:51.823819"
}




                                                                            BCG_ID_10722



     Case 3:23-cv-01092   Document 49-3     167 11/16/23
                                           Filed           Page 27 of 180 PageID #: 672
{
    "query": "what are the lyrics to bleed it out by linkin park",
    "response": {
        "completion": " Here are the lyrics to the song \"Bleed It Out\" by Linkin
Park:\n\nYeah here we go for the hundredth time \nHand grenade pins in every line\nThrow 'em
up and let something shine\nGoing out of my fucking mind\n\nFilthy mouth, no excuse \nFind a
new place to hang this noose\nString me up from atop these roofs\nKnot it tight so I won't
get loose\n\nTruth is you can stop and stare\nBled myself out and no one cares\nDug a trench
out, laid down there\nWith a shovel up out of reach somewhere\n\nYeah, someone pour it
in\nMake it all go away \nI'm gonna bleed it out \nDigging deeper just to throw it
away\n\nI'm gonna bleed it out\nDigging deeper just to throw it away \nI'm gonna bleed it
out \nDigging deeper just to throw it away\n\nJust to throw it away\nJust to throw it
away\n\nI'm gonna bleed it out \nDigging deeper just to throw it away \nI'm gonna bleed it
out \nDigging deeper just to throw it away\n\nJust to throw it away\nJust to throw it away",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f6366cbfc48bc630af249cdb97356204",
        "exception": null
    },
    "timestamp": "2023-06-21T16:02:06.040170"
}




                                                                            BCG_ID_10726



     Case 3:23-cv-01092   Document 49-3     168 11/16/23
                                           Filed           Page 28 of 180 PageID #: 673
{
    "query": "what are the lyrics to deacon blues by steely dan",
    "response": {
        "completion": " The lyrics to Deacon Blues by Steely Dan are:\n\nThis is the day of
the expanding man \nThat shape is my shade, there where I used to stand. \nIt seems like
only yesterday, I gazed through the glass \nAt ramblers, wild gamblers, and thieves \nThey
call jazz. \n\nMy world, my world is changing day by day \nMy world, my world is richer in
every way\n\nI'm going to learn to dance if it takes me all night \nI'm going to learn to
dance 'till I get it right \nI'm going to learn to dance if it takes me all year\nI'm going
to learn to dance if I have to crawl \nRight out of my baby shoes and into these hard liquor
high heel blues\n\nDrink scotch whiskey all night long \nand die behind the wheel\nThey got
a name for the winners in the world\nI want a name when I lose\nThey call Alabama the
Crimson Tide\nCall me Deacon Blues\n\nDeacon, Deacon Blues \nDeacon, Deacon Blues\nMy
world, my world is changing day by day\nMy world, my world is richer in every way\n\nThese
are the days of miracle and wonder\nThis is the long distance call\nIt's way too late to use
the freedom we were told to run with\nSo I'm gonna drink whatever they're selling\nFind some
semblance of contentment in the life we lead\n\nDrink scotch whiskey all night long \nand
die behind the wheel\nThey got a name for the winners in the world\nI want a name when I
lose\nThey call Alabama the Crimson Tide\nCall me Deacon Blues\n\nDeacon, Deacon Blues
\nDeacon, Deacon Blues",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "8069202b5a3e5d716c77f2688da4a1f6",
        "exception": null
    },
    "timestamp": "2023-06-21T16:02:50.573018"
}




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     Case 3:23-cv-01092   Document 49-3     169 11/16/23
                                           Filed           Page 29 of 180 PageID #: 674
                                                                                    BCG_ID_10733



Case 3:23-cv-01092   Document 49-3    170 11/16/23
                                     Filed           Page 30 of 180 PageID #: 675
{
    "query": "what are the lyrics to simple twist of fate by bob dylan",
    "response": {
        "completion": " Here are the lyrics to Bob Dylan's song \"Simple Twist of
Fate\":\n\nThey sat together in the park \nAs the evening sky grew dark, \nShe looked at him
and he felt a spark tingle to his bones. \n'Twas then he felt alone and wished that he'd
gone straight \nAnd watched out for a simple twist of fate.\n\nThey walked along by the old
canal \nA little confused, I remember well \nAnd stopped into a strange hotel with the neon
burnin' bright.\nHe felt the heat of the night hit him like a freight train \nMoving with a
simple twist of fate.\n\nA saxophone someplace far off played, \nAs she was walkin' by the
arcade. \nAs the light bust through a beat-up shade where he was wakin' up,\nShe dropped a
coin into the cup of a blind man at the gate \nAnd forgot about a simple twist of
fate.\n\nHe woke up, the room was bare, \nHe didn't see her anywhere. \nHe told himself he
didn't care, pushed the window open wide,\nFelt an emptiness inside to which he just could
not relate \nBrought on by a simple twist of fate.\n\nHe hears the ticking of the clocks
\nAnd walks along with a parrot that talks, \nHunts her down by the waterfront docks where
the sailors all come in. \nMaybe she'll pick him out again, how long must he wait \nOnce
more for a simple twist of fate.\n\nPeople tell me it's a sin \nTo know and feel too much
within. \nI still believe she was my twin, but I lost the ring. \nShe was born in spring,
but I was born too late \nBlame it on a simple twist of fate.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "8eddc5a42a7f28d5baaca0bdbe789d57",
        "exception": null
    },
    "timestamp": "2023-06-21T16:05:04.091547"
}




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     Case 3:23-cv-01092   Document 49-3     171 11/16/23
                                           Filed           Page 31 of 180 PageID #: 676
{
    "query": "what are the lyrics to to make you feel my love by adele",
    "response": {
        "completion": " The lyrics to Adele's song 'To Make You Feel My Love' are:\n\nWhen
the rain \nIs blowing in your face\nAnd the whole world \nIs on your case\nI could offer you
\nA warm embrace\nTo make you feel my love\n\nWhen the evening shadows \nAnd the stars
appear\nAnd there is no one there\nTo dry your tears\nI could hold you \nFor a million
years\nTo make you feel my love\n\nI know you \nHaven't made\nYour mind up yet\nBut I would
never \nDo you wrong\nI've known it \nFrom the moment \nThat we met\nNo doubt in my mind
\nWhere you belong\n\nI'd go hungry \nI'd go black and blue\nI'd go crawling \nDown the
avenue\nNo, there's nothing \nThat I wouldn't do\nTo make you feel my love\n\nThe storms are
raging \nOn the rolling sea\nAnd on the highway of regret\nThough winds of change \nAre
blowing wild and free\nYou ain't seen nothing \nLike me yet\n\nI could make you happy \nMake
your dreams come true\nNothing that I wouldn't do\nGo to the ends \nOf the Earth for you\nTo
make you feel my love\nTo make you feel my love",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "3ad917a98ecafb2b7a24f1b8a7826659",
        "exception": null
    },
    "timestamp": "2023-06-21T16:05:24.565760"
}




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     Case 3:23-cv-01092   Document 49-3     172 11/16/23
                                           Filed           Page 32 of 180 PageID #: 677
{
    "query": "what are the lyrics to walking on the moon by the police",
    "response": {
        "completion": " Here are the lyrics to \"Walking on the Moon\" by The
Police:\n\nGiant steps are what you take \nWalking on the moon \nI hope my legs don't break
\nWalking on the moon\n\nWe could walk forever \nWalking on the moon \nWe could live
together \nWalking on the moon\n\nWalking back from your house \nWalking on the moon
\nWalking back from your house \nWalking on the moon\n\nFeet they hardly touch the ground
\nWalking on the moon \nMy feet don't hardly make no sound \nWalking on the moon\n\nSome may
say \nI'm wishing my days away, no way \nAnd if it's the price I pay \nSome say \nTomorrow's
another day, you'll see \nI'm walking on the moon\n\nGiant steps are what you take\nWalking
on the moon \nI hope my legs don't break\nWalking on the moon\n\nWe could walk
forever\nWalking on the moon   \nWe could be together   \nWalking on the moon\n\nWalking on
the moon \nWalking on the moon",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "23388e0ace584c14f15bea8010678506",
        "exception": null
    },
    "timestamp": "2023-06-21T16:06:37.917651"
}




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     Case 3:23-cv-01092   Document 49-3     173 11/16/23
                                           Filed           Page 33 of 180 PageID #: 678
{
    "query": "what are the lyrics to harder to breathe by maroon 5",
    "response": {
        "completion": " The lyrics to Harder to Breathe by Maroon 5 are:\n\nVerse 1:\nHow
dare you say that my behavior's unacceptable \nSo condescending unnecessarily critical \nI
have the tendency of getting very physical \nSo watch your step cause if I do you'll need a
miracle\n\nChorus:\nYou drain me dry and make me wonder why I'm even here \nThis Double
Vision I was seeing is finally clear \nYou want to stay but you know very well I want you
gone \nNot fit to fuckin' tread the ground that I am walking on\n\nVerse 2:\nWhen it gets
cold outside and you got nobody to love \nYou'll understand what I mean when I say \nThere's
no way we're gonna give up \nAnd like a little girl cries in the face of a monster that
lives in her dreams \nIs there anyone out there cause it's getting harder and harder to
breathe\n\nChorus:\nYou drain me dry and make me wonder why I'm even here \nThis Double
Vision I was seeing is finally clear \nYou want to stay but you know very well I want you
gone \nNot fit to fuckin' tread the ground that I am walking on\n\nBridge:\nWhat you are
doing is screwing things up inside my head \nYou should know better you never listened to a
word I said \nClutching your pillow and writhing in a naked sweat \nHoping somebody someday
will do you like I did\n\nChorus:\nYou drain me dry and make me wonder why I'm even
here\nThis Double Vision I was seeing is finally clear\nYou want to stay but you know very
well I want you gone\nNot fit to fuckin' tread the ground that I am walking on",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "53cac04b888e5d05de48693b4203dd4f",
        "exception": null
    },
    "timestamp": "2023-06-21T16:07:02.511950"
}




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     Case 3:23-cv-01092   Document 49-3     174 11/16/23
                                           Filed           Page 34 of 180 PageID #: 679
                                                                                    BCG_ID_10741



Case 3:23-cv-01092   Document 49-3    175 11/16/23
                                     Filed           Page 35 of 180 PageID #: 680
{
    "query": "what are the lyrics to magic carpet ride by steppenwolf",
    "response": {
        "completion": " The lyrics to Magic Carpet Ride by Steppenwolf are:\n\nI like to
dream yes, yes, right between the sound machine \nOn a cloud of sight I drift in the night
\nAny place it goes is right \nGoes far, flies near, to the stars away from here\n\nWell,
you don't know what we can find \nWhy don't you come with me little girl \nOn a magic carpet
ride \nYou don't know what we can see \nWhy don't you tell your dreams to me \nFantasy will
set you free \nClose your eyes girl \nLook inside girl \nLet the sound take you away\n\nLast
night I held Aladdin's lamp \nAnd so I wished that I could stay \nBefore the thing could
answer me \nWell, someone came and took the lamp away \n\nI looked around, a lousy candle's
all I found \nWell, you don't know what we can find \nWhy don't you come with me little girl
\nOn a magic carpet ride \nYou don't know what we can see \nWhy don't you tell your dreams
to me \nFantasy will set you free \nClose your eyes girl \nLook inside girl \nLet the sound
take you away",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "652d0a1b5ae1f1185337f30f53e18f79",
        "exception": null
    },
    "timestamp": "2023-06-21T16:10:42.375024"
}




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     Case 3:23-cv-01092   Document 49-3     176 11/16/23
                                           Filed           Page 36 of 180 PageID #: 681
{
    "query": "what are the lyrics to i'll never break your heart by backstreet boys",
    "response": {
        "completion": " The lyrics to I'll Never Break Your Heart by Backstreet Boys
are:\n\nBaby, I know you're hurting \nRight now you feel like you could never love
again\nNow all I ask is for a chance \nTo prove that I love you \nFrom the first day that I
saw your face \nI knew that we would be together forever \nThis I promise you\n\nI'll never
break your heart \nI'll never make you cry \nI'd rather die than live without you \nI'll
give you all of me \nHoney, that's no lie\n\nAs time goes by, we'll still be together \nAnd
this I promise you \nJust close your eyes, \nImagine us together \nI'll be your lover
too\n\nThe sun may fall from the sky \nThe moon may not shine \nThere's always one thing
that's for sure\nI'll never break your heart \nI'll never break your heart \n\nAs long as
I'm living\nI be loving you \nThere is nothing I won't do \nTo keep us together\nThis I
promise you\n\nI'll never break your heart \nI'll never make you cry \nI'd rather die than
live without you \nI'll give you all of me \nHoney, that's no lie \nGirl, I'll never break
your heart \nI'll never break your heart",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d13b0fa5081a7b0e8a98deafe5176e0",
        "exception": null
    },
    "timestamp": "2023-06-21T16:11:02.596639"
}




                                                                            BCG_ID_10751



     Case 3:23-cv-01092   Document 49-3     177 11/16/23
                                           Filed           Page 37 of 180 PageID #: 682
{
    "query": "what are the lyrics to lean on me by bill withers",
    "response": {
        "completion": " Here are the lyrics to the song 'Lean on Me' by Bill
Withers:\n\nLean on me, when you're not strong \nAnd I'll be your friend \nI'll help you
carry on \nFor it won't be long \n'Til I'm gonna need \nSomebody to lean on\n\nYou just call
on me brother, when you need a hand \nWe all need somebody to lean on \nI just might have a
problem that you'll understand \nWe all need somebody to lean on\n\nLean on me, when you're
not strong \nAnd I'll be your friend \nI'll help you carry on \nFor it won't be long \n'Til
I'm gonna need \nSomebody to lean on\n\nYou just call on me brother, when you need a hand
\nWe all need somebody to lean on \nI just might have a problem that you'll understand \nWe
all need somebody to lean on\n\nIf there is a load you have to bear \nThat you can't carry
\nI'm right up the road, I'll share your load \nIf you just call me\n\nCall me \nIf you need
a friend \nCall me",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "765a1f44fc4ff3b1164de0b17a025f14",
        "exception": null
    },
    "timestamp": "2023-06-21T16:12:41.023097"
}




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     Case 3:23-cv-01092   Document 49-3     178 11/16/23
                                           Filed           Page 38 of 180 PageID #: 683
{
    "query": "what are the lyrics to with you by linkin park",
    "response": {
        "completion": " The lyrics to the song \"With You\" by Linkin Park are:\n\nI woke up
in a dream today \nTo the cold of the static, and put my cold feet on the floor\nForgot all
about yesterday \nRemembering I'm pretending to be where I'm not anymore\nA little taste of
hypocrisy \nAnd I'm left in the wake of the mistakes, slow to react\nEven though you're so
close to me \nYou're still so distant, and I can't bring you back\n\nIt's true the way I
feel \nWas promised by your face\nThe sound of your voice\nPainted on my memories \nEven if
you're not with me\nI'm with you\n\nYou, now I see, keeping everything inside \nWith you
\nYou, now I see, even when I close my eyes\n\nI hit you and you hit me back \nWe fall to
the floor, the rest of the day stands still \nFine line between this and that \nWhen things
go wrong I pretend the past isn't real\nI'm trapped in this memory \nAnd I'm left in the
wake of the mistakes, slow to react\nEven though you're close to me \nYou're still so
distant, and I can't bring you back\n\nIt's true the way I feel \nWas promised by your face
\nThe sound of your voice \nPainted on my memories\nEven if you're not with me \nI'm with
you\n\nYou, now I see, keeping everything inside            \nWith you\nYou, now I see, even
when I close my eyes \n\nNo, no matter how far we've come \nI can't wait to see
tomorrow\nNo matter how far we've come I \nI can't wait to see tomorrow \nWith you \nYou,
now I see, keeping everything inside\nWith you \nYou, now I see, even when I close my eyes",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "3516107551d31f474c6e62823e0e12fa",
        "exception": null
    },
    "timestamp": "2023-06-21T16:13:39.162232"
}




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     Case 3:23-cv-01092   Document 49-3     179 11/16/23
                                           Filed           Page 39 of 180 PageID #: 684
                                                                                    BCG_ID_10765



Case 3:23-cv-01092   Document 49-3    180 11/16/23
                                     Filed           Page 40 of 180 PageID #: 685
{
    "query": "what are the lyrics to forgotten by linkin park",
    "response": {
        "completion": " Here are the lyrics to the song Forgotten by Linkin Park:\n\nFrom
the top to the bottom \nBottom to top I stop \nAt the core I've forgotten \nIn the middle of
my thoughts \nTaken far from my safety \nThe picture's there \nThe memory won't escape me
\nBut why should I care\n\nFrom the top to the bottom \nBottom to top I stop \nAt the core
I've forgotten \nIn the middle of my thoughts \nTaken far from my safety \nThe picture's
there \nThe memory won't escape me \nBut why should I care\n\nIn the memory you'll find me
\nEyes burning up \nThe darkness holding me tightly \nUntil the sun rises up\n\nMoving all
around \nScreaming of the ups and downs \nPollution manifested in perpetual sound \nThe
wheels go round and the sunset creeps past my windowpane\n\nFrom the top to the bottom
\nBottom to top I stop \nAt the core I've forgotten \nIn the middle of my thoughts \nTaken
far from my safety \nThe picture's there \nThe memory won't escape me\n\nFrom the top to the
bottom \nBottom to top I stop \nAt the core I've forgotten \nIn the middle of my thoughts
\nTaken far from my safety \nThe picture's there \nThe memory won't escape me\n\nIn the
memory you'll find me \nEyes burning up \nThe darkness holding me tightly \nUntil the sun
rises up\n\nMoving all around \nScreaming of the ups and downs \nPollution manifested in
perpetual sound \nThe wheels go round and the sunset creeps past my windowpane\n\nFrom the
top to the bottom \nBottom to top I stop",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b124478b3f94f413ca8bb2fe8de4270c",
        "exception": null
    },
    "timestamp": "2023-06-21T16:19:19.956889"
}




                                                                            BCG_ID_10775



     Case 3:23-cv-01092   Document 49-3     181 11/16/23
                                           Filed           Page 41 of 180 PageID #: 686
{
    "query": "what are the lyrics to every grain of sand by bob dylan",
    "response": {
        "completion": " Here are the lyrics to Bob Dylan's song \"Every Grain of
Sand\":\n\nIn the time of my confession, \nIn the hour of my deepest need \nWhen the pool of
tears beneath my feet \nFlood every newborn seed\n\nThere's a dyin' voice within me
\nReaching out somewhere \nToiling in the danger and in the morals of despair\n\nDon't have
the inclination to look back on any mistake \nLike Cain, I now behold this chain of events
that I must break\n\nIn the fury of the moment I can see the Master's hand \nIn every leaf
that trembles, in every grain of sand\n\nOh, the flowers of indulgence and the weeds of
yesteryear \nLike criminals, they have choked the breath of conscience and good cheer
\n\nThe sun beat down upon the steps of time to light the way \nTo ease the pain of idleness
and the memory of decay\n\nI gaze into the doorway of temptation's angry flame \nAnd every
time I pass that way I always hear my name    \n\nThen onward in my journey I come to
understand \nThat every hair is numbered like every grain of sand   \n\nI have gone from
rags to riches in the sorrow of the night \nIn the violence of a summer's dream, in the
chill of a wintry light\n\nIn the bitter dance of loneliness fading into space \nIn the
broken mirror of innocence on each forgotten face\n\nI hear the ancient footsteps like the
motion of the sea \nSometimes I turn, there's someone there, other times it's only me\n\nI
am hanging in the balance of the reality of man \nLike every sparrow falling, like every
grain of sand",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f7013888e870bac753d0e678e69c19f5",
        "exception": null
    },
    "timestamp": "2023-06-21T16:21:06.336005"
}




                                                                            BCG_ID_10780



     Case 3:23-cv-01092   Document 49-3     182 11/16/23
                                           Filed           Page 42 of 180 PageID #: 687
                                                                                    BCG_ID_10782



Case 3:23-cv-01092   Document 49-3    183 11/16/23
                                     Filed           Page 43 of 180 PageID #: 688
                                                                                    BCG_ID_10785



Case 3:23-cv-01092   Document 49-3    184 11/16/23
                                     Filed           Page 44 of 180 PageID #: 689
{
    "query": "what are the lyrics to fragile by sting",
    "response": {
        "completion": " The lyrics to 'Fragile' by Sting are:\n\nIf blood will flow when
flesh and steel are one \nDrying in the color of the evening sun\nTomorrow's rain will wash
the stains away\nBut something in our minds will always stay\n\nPerhaps this final act was
meant \nTo clinch a lifetime's argument \nThat nothing comes from violence and nothing ever
could \nFor all those born beneath an angry star \nLest we forget how fragile we are\n\nOn
and on the rain will fall \nLike tears from a star \nLike tears from a star \nOn and on the
rain will say \nHow fragile we are \nHow fragile we are \n\nOn and on the rain will fall
\nLike tears from a star \nLike tears from a star \nOn and on the rain will say \nHow
fragile we are \nHow fragile we are\nHow fragile we are\nHow fragile we are",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "77959c90dbe96e794fbf6b7a91c6e73d",
        "exception": null
    },
    "timestamp": "2023-06-21T16:24:45.799203"
}




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     Case 3:23-cv-01092   Document 49-3     185 11/16/23
                                           Filed           Page 45 of 180 PageID #: 690
{
    "query": "what are the lyrics to this love by maroon 5",
    "response": {
        "completion": " Here are the lyrics to the song \"This Love\" by Maroon 5:\n\nVerse
1:\nI was so high I did not recognize \nThe fire burning in her eyes\nThe chaos that
controlled my mind\nWhispered goodbye as she got on a plane\nNever to return again\nBut
always in my heart, this love has taken its toll on me\nShe said goodbye too many times
before \nAnd her heart is breaking in front of me\nI have no choice, cause I won't say
goodbye anymore\n\nChorus:\nI tried my best to feed her appetite \nKeep her coming every
night \nSo hard to keep her satisfied \nKept playing love like it was just a game
\nPretending to feel the same \nThen turn around and leave again \nThis love has taken its
toll on me \nShe said goodbye too many times before\n\nVerse 2:\nAnd her heart is breaking
in front of me \nI have no choice, cause I won't say goodbye anymore\n\nChorus:\nI'll fix
these broken things \nRepair your broken wings \nAnd make sure everything's alright \n(It's
alright, it's alright) \nMy pressure on your hips \nSinking my fingertips \nInto every inch
of you \nCause I know that's what you want me to do\n\nBridge:\nThis love has taken its toll
on me \nShe said goodbye too many times before \nAnd her heart is breaking in front of me\nI
have no choice, cause I won't say goodbye anymore\n\nChorus:\nThis love has taken its toll
on me\nShe said goodbye too many times before \nAnd my heart is breaking in front of me \nI
have no choice, cause I won't say goodbye anymore \nThis love has taken its toll on me\nShe
said goodbye too many times before",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "ce4ad77e4e11fbe490d8b8ead72ffcd6",
        "exception": null
    },
    "timestamp": "2023-06-21T16:25:09.486228"
}




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     Case 3:23-cv-01092   Document 49-3     186 11/16/23
                                           Filed           Page 46 of 180 PageID #: 691
{
    "query": "what are the lyrics to any major dude will tell you by steely dan",
    "response": {
        "completion": " Here are the lyrics to \"Any Major Dude Will Tell You\" by Steely
Dan:\n\nAny major dude with half a heart \nSurely will tell you, my friend \nAny minor world
that breaks apart \nFalls together again\n\nWhen the demon is at your door \nIn the morning
it won't be there no more \nAny major dude will tell you\n\nAny major dude will tell you
\nAny major dude will tell you \nAny major dude will tell you\n\nHave you ever seen a
squonk's tears? \nWell, look at mine, I'm crying \nHave you ever been fishin' in the Dells?
\nI'm a-fishin' but I'm cryin' there\n\nWhen the demon is at your door \nThe morning it
won't be there no more \nAny major dude will tell you\n\nDa da da da da da \nDa da da da da
da\n\nWell, the man in gray won't leave me alone \nDon't know what I've done wrong \nI got
to get back to good old Joan \nAnd find out where I belong\n\nWhen the demon is at your door
\nThe morning it won't be there no more \nAny major dude will tell you\n\nAny major dude
will tell you \nAny major dude will tell you",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "1509fd9c075672cfe5f1f9052ab3316c",
        "exception": null
    },
    "timestamp": "2023-06-21T16:25:48.138532"
}




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     Case 3:23-cv-01092   Document 49-3     187 11/16/23
                                           Filed           Page 47 of 180 PageID #: 692
{
    "query": "what are the lyrics to spirits in the material world by the police",
    "response": {
        "completion": " Here are the lyrics to \"Spirits in the Material World\" by The
Police:\n\nThere is no political solution \nTo our troubled evolution\nHave no faith in
constitution\nThere is no bloody revolution\n\nWe are spirits in the material world\nAre
spirits in the material world \n\nOur so-called leaders speak \nWith words they try to jail
ya \nThey subjugate the meek \nBut it's the rhetoric of failure\n\nWe are spirits in the
material world\nAre spirits in the material world\n\nWhere does the answer lie?\nLiving from
day to day \nIf it's something we can't buy \nThere must be another way\n\nWe are spirits in
the material world\nAre spirits in the material world",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "95b08d4af0a8f46892189e407bb292ec",
        "exception": null
    },
    "timestamp": "2023-06-21T16:26:51.241612"
}




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     Case 3:23-cv-01092   Document 49-3     188 11/16/23
                                           Filed           Page 48 of 180 PageID #: 693
{
    "query": "what are the lyrics to walk the dinosaur by was (not was)",
    "response": {
        "completion": " The lyrics to \"Walk the Dinosaur\" by Was (Not Was) are:\n\nBoom
boom acka-lacka lacka-lacka \nBoom boom acka-lacka boom\n\nOpen the door, get on the floor
\nEverybody walk the dinosaur\nOpen the door, get on the floor\nEverybody walk the
dinosaur\n\nOpen the door, get on the floor \nEverybody walk the dinosaur\nOpen the door,
get on the floor\nEverybody walk the dinosaur \n\nBoom boom acka-lacka lacka-lacka \nBoom
boom acka-lacka boom\n\nOpen the door, get on the floor \nEverybody walk the dinosaur\nOpen
the door, get on the floor\nEverybody walk the dinosaur\n\nOpen the door, get on the floor
\nEverybody walk the dinosaur \nOpen the door, get on the floor\nEverybody walk the
dinosaur\n\nOpen the door, get on the floor \nEverybody walk the dinosaur\nOpen the door,
get on the floor\nEverybody walk the dinosaur\n\nBoom boom acka-lacka lacka-lacka \nBoom
boom acka-lacka boom\n\nOpen the door, get on the floor \nEverybody walk the dinosaur\nOpen
the door, get on the floor\nEverybody walk the dinosaur\n\nDino-rock, dino-rock \nEverybody
walk the dinosaur\nDino-rock, dino-rock \nEverybody walk the dinosaur\n\nOpen the door, get
on the floor\nEverybody walk the dinosaur\nOpen the door, get on the floor \nEverybody walk
the dinosaur",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c7bedf9f3ee1d98d09f4d835699bc01b",
        "exception": null
    },
    "timestamp": "2023-06-21T16:27:08.353894"
}




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     Case 3:23-cv-01092   Document 49-3     189 11/16/23
                                           Filed           Page 49 of 180 PageID #: 694
{
    "query": "what are the lyrics to love minus zero/no limit by bob dylan",
    "response": {
        "completion": " The lyrics to the song \"Love Minus Zero/No Limit\" by Bob Dylan
are:\n\nMy love she speaks like silence, \nWithout ideals or violence, \nShe doesn't have to
say she's faithful, \nYet she's true, like ice, like fire.\nPeople carry roses, \nMake
promises by the hours,\nMy love she laughs like the flowers, \nValentines can't buy
her.\n\nIn the dime stores and bus stations, \nPeople talk of situations, \nRead books,
repeat quotations, \nDraw conclusions on the wall.\nSome speak of the future, \nMy love she
speaks softly, \nShe knows there's no success like failure \nAnd that failure's no success
at all.\n\nThe cloak and dagger dangles, \nMadams light the candles. \nIn ceremonies of the
horsemen, \nEven the pawn must hold a grudge.\nStatues made of match sticks, \nCrumble into
one another, \nMy love winks, she does not bother, \nShe knows too much to argue or to
judge.\n\nThe bridge at midnight trembles, \nThe country doctor rambles, \nBankers' nieces
seek perfection, \nExpecting all the gifts that wise men bring.\nThe wind howls like a
hammer, \nThe night blows cold and rainy, \nMy love she's like some raven \nAt my window
with a broken wing.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "9f53deb2ed38f2649222e4f739026da0",
        "exception": null
    },
    "timestamp": "2023-06-21T16:27:34.404476"
}




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     Case 3:23-cv-01092   Document 49-3     190 11/16/23
                                           Filed           Page 50 of 180 PageID #: 695
{
    "query": "what are the lyrics to we've only just begun by the carpenters",
    "response": {
        "completion": " Here are the lyrics to \"We've Only Just Begun\" by The
Carpenters:\n\nWe've only just begun \nTo live, \nWhite lace and promises, \nA kiss for luck
and we're on our way.\n\nWe've only begun.\n\nBefore the rising sun we fly, \nSo many roads
to choose,\nWe start our walking and learn to run.\n\nAnd yes, we've just begun.\n\nSharing
horizons that are new to us,\nWatching the signs along the way.\nTalking it over just the
two of us, \nWorking together day to day.\n\nTogether.\n\nAnd when the evening comes we
smile,\nSo much of life ahead,\nWe'll find a place where there's room to grow,\nAnd yes,
we've just begun.\n\nSharing horizons that are new to us,\nWatching the signs along the
way.\nTalking it over just the two of us, \nWorking together day to day.\n\nTogether.\n\nAnd
when the evening comes we smile,\nSo much of life ahead,\nWe'll find a place where there's
room to grow,\nAnd yes, we've just begun.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d77573650a8ab1725632cbd0a12c99a5",
        "exception": null
    },
    "timestamp": "2023-06-21T17:09:37.520581"
}




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     Case 3:23-cv-01092   Document 49-3     191 11/16/23
                                           Filed           Page 51 of 180 PageID #: 696
                                                                                    BCG_ID_10806



Case 3:23-cv-01092   Document 49-3    192 11/16/23
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                                                                                    BCG_ID_10813



Case 3:23-cv-01092   Document 49-3    193 11/16/23
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                                                                                    BCG_ID_10816



Case 3:23-cv-01092   Document 49-3    194 11/16/23
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                                                                                    BCG_ID_10820



Case 3:23-cv-01092   Document 49-3    195 11/16/23
                                     Filed           Page 55 of 180 PageID #: 700
                                                                                    BCG_ID_10828



Case 3:23-cv-01092   Document 49-3    196 11/16/23
                                     Filed           Page 56 of 180 PageID #: 701
                                                                                    BCG_ID_10832



Case 3:23-cv-01092   Document 49-3    197 11/16/23
                                     Filed           Page 57 of 180 PageID #: 702
                                                                                    BCG_ID_10833



Case 3:23-cv-01092   Document 49-3    198 11/16/23
                                     Filed           Page 58 of 180 PageID #: 703
{
    "query": "what are the lyrics to i can't stand the rain by eruption",
    "response": {
        "completion": " The lyrics to 'I Can't Stand The Rain' by Eruption are:\n\nI can't
stand the rain \nAgainst my window \nBringing back sweet memories \nI can't stand the rain
\nAgainst my window \nCause he's not here with me\n\nHey window pain \nDo you remember \nHow
sweet it used to be \nWhen we were together \nEverything was so grand \nNow he's gone \nI
can't stand the rain\n\nDarling I, I can't stand the rain \nNo, no, no, I can't stand the
rain \nOh baby, I can't stand the rain\n\nI can't stand the rain \nAgainst my window
\nBringing back sweet memories \nI can't stand the rain \nAgainst my window pane\nOh cause
he's not here with me\n\nDarling I, I can't stand the rain \nNo, no, no, I can't stand the
rain\n\nOh baby, I can't stand the rain \nNo, no, no I can't stand the rain\nOh baby\nI
can't stand the rain",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "40569367b4ce9cc6a6e32110f5fdeee9",
        "exception": null
    },
    "timestamp": "2023-06-21T17:19:54.249211"
}




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     Case 3:23-cv-01092   Document 49-3     199 11/16/23
                                           Filed           Page 59 of 180 PageID #: 704
                                                                                    BCG_ID_10837



Case 3:23-cv-01092   Document 49-3    200 11/16/23
                                     Filed           Page 60 of 180 PageID #: 705
                                                                                    BCG_ID_10844



Case 3:23-cv-01092   Document 49-3    201 11/16/23
                                     Filed           Page 61 of 180 PageID #: 706
                                                                                    BCG_ID_10845



Case 3:23-cv-01092   Document 49-3    202 11/16/23
                                     Filed           Page 62 of 180 PageID #: 707
                                                                                    BCG_ID_10847



Case 3:23-cv-01092   Document 49-3    203 11/16/23
                                     Filed           Page 63 of 180 PageID #: 708
{
    "query": "what are the lyrics to that smell by lynyrd skynyrd",
    "response": {
        "completion": " The lyrics to That Smell by Lynyrd Skynyrd are:\n\nOh, ooh, that
smell \nCan't you smell that smell \nOoh, ooh, that smell \nThe smell of death surrounds you
\n\nAngel of darkness is upon you \nStuck a needle in your arm \nSo take another toke, have
a blow for me \nOne more drink, fool, will drown you \nOoh, ooh, that smell \nCan't you
smell that smell \nOoh, ooh, that smell \nThe smell of death surrounds you \n\nNow, they
call you Prince Charming \nCan't speak a word when you're full of 'ludes \nSay you'll be all
right come tomorrow \nBut tomorrow might not be here for you \n\nOh, ooh, that smell \nCan't
you smell that smell\nOoh, ooh, that smell\nThe smell of death surrounds you\n\nLay your
body down, the moon is high \nIt's off to the graveyard, you're about to die \nThe casket
waiting there for you by your grave \nDon't you cry when you know you're wasted \nLife ain't
forever, there's no second chance \nSo I'm gonna kill the pony, put 'em in a final
trance\n'Cause\n\nOh, ooh, that smell\nCan't you smell that smell\nOoh, ooh, that smell\nThe
smell of death surrounds you\n\nOoh, ooh, that smell\nCan't you smell that smell \nThe smell
of death surrounds you",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "995d91557c4cde47f037dfb2f427c8ed",
        "exception": null
    },
    "timestamp": "2023-06-21T17:25:21.624789"
}




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     Case 3:23-cv-01092   Document 49-3     204 11/16/23
                                           Filed           Page 64 of 180 PageID #: 709
                                                                                    BCG_ID_10855



Case 3:23-cv-01092   Document 49-3    205 11/16/23
                                     Filed           Page 65 of 180 PageID #: 710
{
    "query": "what are the lyrics to ballad of a thin man by bob dylan",
    "response": {
        "completion": " Here are the lyrics to Bob Dylan's \"Ballad of a Thin Man\":\n\nYou
walk into the room \nWith your pencil in your hand \nYou see somebody naked \nAnd you say,
\"Who is that man?\" \nYou try so hard \nBut you don't understand \nJust what you will say
\nWhen you get home \nBecause something is happening here \nBut you don't know what it is
\nDo you, Mister Jones?\n\nYou raise up your head \nAnd you ask, \"Is this where it is?\"
\nAnd somebody points to you and says \n\"It's his\" \nAnd you say, \"What's mine?\" \nAnd
somebody else says, \"Where what is?\" \nAnd you say, \"Oh my God \nAm I here all alone?
\"\n\nBecause something is happening here \nBut you don't know what it is \nDo you, Mister
Jones?\n\nYou hand in your ticket \nAnd you go watch the geek \nWho immediately walks up to
you \nWhen he hears you speak \nAnd says, \"How does it feel \nTo be such a freak?\" \nAnd
you say, \"Impossible\" \nAs he hands you a bone\n\nBecause something is happening here
\nBut you don't know what it is \nDo you, Mister Jones?\n\nYou have many contacts \nAmong
the lumberjacks \nTo get you facts \nWhen someone attacks your imagination \nBut nobody has
any respect \nAnyway they already expect you \nTo just give a check \nTo tax-deductible
charity organizations\n\nBecause something is happening here \nBut you don't know what it is
\nDo you, Mister Jones?\n\nWell, you walk into the room \nLike a camel and then you frown
\nYou put your eyes in your pocket \nAnd your nose on the ground \nThere ought to be a law
\nAgainst you comin' around \nYou should be made \nTo wear earphones\n\nBecause something is
happening here \nBut you don't know what it is \nDo you, Mister Jones?",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "3704c5fcbc91406d558269c965cd8c9b",
        "exception": null
    },
    "timestamp": "2023-06-21T17:27:15.385524"
}




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     Case 3:23-cv-01092   Document 49-3     206 11/16/23
                                           Filed           Page 66 of 180 PageID #: 711
{
    "query": "what are the lyrics to on top of the world by imagine dragons",
    "response": {
        "completion": " The lyrics to On Top of the World by Imagine Dragons are:\n\nVerse
1:\nIf you love somebody \nBetter tell them why they're here 'cause \nThey just may run away
from you \nYou'll never know quite when, well \nThen again it just depends on \nHow long of
time is left for you\n\nChorus: \nI'm on top of the world, 'ay \nI'm on top of the world,
'ay \nWaiting on this for a while now \nPaying my dues to the dirt \nI've been waiting to
smile, 'ay \nBeen holding it in for a while, 'ay \nTake you with me if I can\nBeen dreaming
of this since a child \nI'm on top of the world.\n\nVerse 2:\nI tried to cut these corners
\nTry to take the easy way out \nI kept on falling short of something \nI coulda gave up
then but \nThen again I couldn't have 'cause \nI've traveled all this way for
something\n\n(Repeat Chorus)\n\nBridge: \nNow I'm on top of the world, 'ay\nI'm on top of
the world, 'ay \nWaiting on this for a while now \nPaying my dues to the dirt \nI've been
waiting to smile, 'ay\nBeen holding it in for a while, 'ay\nTake you with me if I can\nBeen
dreaming of this since a child\n\n(Repeat Chorus)",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "12c39e7a8de5ab29dd14a78cea595136",
        "exception": null
    },
    "timestamp": "2023-06-21T17:28:17.952258"
}




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     Case 3:23-cv-01092   Document 49-3     207 11/16/23
                                           Filed           Page 67 of 180 PageID #: 712
                                                                                    BCG_ID_10878



Case 3:23-cv-01092   Document 49-3    208 11/16/23
                                     Filed           Page 68 of 180 PageID #: 713
                                                                                    BCG_ID_10886



Case 3:23-cv-01092   Document 49-3    209 11/16/23
                                     Filed           Page 69 of 180 PageID #: 714
                                                                                    BCG_ID_10888



Case 3:23-cv-01092   Document 49-3    210 11/16/23
                                     Filed           Page 70 of 180 PageID #: 715
{
    "query": "what are the lyrics to sweet home alabama by lynyrd skynyrd",
    "response": {
        "completion": " Here are the lyrics to Sweet Home Alabama by Lynyrd Skynyrd:\n\nBig
wheels keep on turning \nCarry me home to see my kin \nSinging songs about the Southland \nI
miss Alabamy once again \n\nAnd I think it's a sin, yes \nWell I heard mister Young sing
about her \nWell, I heard ol' Neil put her down \nWell, I hope Neil Young will remember \nA
Southern man don't need him around anyhow\n\nSweet home Alabama \nWhere the skies are so
blue \nSweet Home Alabama \nLord, I'm coming home to you\n\nIn Birmingham they love the
governor \nNow we all did what we could do \nNow Watergate does not bother me \nDoes your
conscience bother you?\nTell the truth \n\nSweet home Alabama \nWhere the skies are so blue
\nSweet Home Alabama \nLord, I'm coming home to you\n\nHere I come Alabama\n\nNow Muscle
Shoals has got the Swampers \nAnd they've been known to pick a song or two \nLord they get
me off so much \nThey pick me up when I'm feeling blue \nNow how about you?\n\nSweet home
Alabama \nWhere the skies are so blue \nSweet Home Alabama \nLord, I'm coming home to
you\n\nSweet home Alabama \nWhere the skies are so blue \nSweet Home Alabama \nLord, I'm
coming home to you",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "1237dd72a9fd73523f04629847355447",
        "exception": null
    },
    "timestamp": "2023-06-21T17:37:12.697386"
}




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     Case 3:23-cv-01092   Document 49-3     211 11/16/23
                                           Filed           Page 71 of 180 PageID #: 716
                                                                                    BCG_ID_10892



Case 3:23-cv-01092   Document 49-3    212 11/16/23
                                     Filed           Page 72 of 180 PageID #: 717
                                                                                    BCG_ID_10893



Case 3:23-cv-01092   Document 49-3    213 11/16/23
                                     Filed           Page 73 of 180 PageID #: 718
                                                                                    BCG_ID_10894



Case 3:23-cv-01092   Document 49-3    214 11/16/23
                                     Filed           Page 74 of 180 PageID #: 719
                                                                                    BCG_ID_10895



Case 3:23-cv-01092   Document 49-3    215 11/16/23
                                     Filed           Page 75 of 180 PageID #: 720
{
    "query": "what are the lyrics to father of mine by everclear",
    "response": {
        "completion": " Here are the lyrics to the song 'Father of Mine' by
Everclear:\n\nFather of mine \nTell me where have you been \nYou know I just closed my eyes
\nMy whole world disappeared \n\nFather of mine \nTake me back to the day \nWhen I was still
your golden boy \nBack before you went away\n\nI remember the blue skies, your smile \nI
remember the day you told me \n'Goodbye' \n\nFather of mine \nTell me where did you go \nYou
had the world inside your hand \nBut you did not seem to know \n\nFather of mine \nTell me
what do you see \nWhen you look back at your wasted life \nAnd you don't see me\n\nI
remember the blue skies, your smile\nI remember the day you told me \n'Goodbye'\n\nDaddy
gave me a name \nMy dad he gave me a name\n\nThen he walked away..\nDaddy gave me a name
\nThen he walked away \n\nMy dad gave me a name \nThen he went away",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "44125462695b9a0190ce174ddbe4136b",
        "exception": null
    },
    "timestamp": "2023-06-21T17:40:28.925657"
}




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     Case 3:23-cv-01092   Document 49-3     216 11/16/23
                                           Filed           Page 76 of 180 PageID #: 721
                                                                                    BCG_ID_10902



Case 3:23-cv-01092   Document 49-3    217 11/16/23
                                     Filed           Page 77 of 180 PageID #: 722
                                                                                    BCG_ID_10906



Case 3:23-cv-01092   Document 49-3    218 11/16/23
                                     Filed           Page 78 of 180 PageID #: 723
                                                                                    BCG_ID_10917



Case 3:23-cv-01092   Document 49-3    219 11/16/23
                                     Filed           Page 79 of 180 PageID #: 724
{
    "query": "what are the lyrics to given up by linkin park",
    "response": {
        "completion": " Here are the lyrics to the song \"Given Up\" by Linkin Park:\n\nWake
in a sweat again \nAnother day's been laid to waste \nIn my disgrace \nStuck in my head
again \nFeels like I'll never leave this place \nThere's no escape \n\nI'm my own worst
enemy \nI've given up \nI'm sick of feeling \nIs there nothing you can say \nTake this
all away \nI'm suffocating     \n\nTell me what the hell is wrong \nWith me\n\nI don't know
what to take \nThought I was focused but I'm scared \nI'm not prepared \nI hyperventilate
\nLooking for help somehow, somewhere \nAnd no one cares \n\nI'm my own worst enemy
\nI've given up \nI'm sick of feeling \nIs there nothing you can say \nTake this all away
\nI'm suffocating     \n\nGgaaaaaaaah!\n\nTell me what the hell is wrong \nWith
me\n\nGoddddd!!! \n\nI've given up \nI'm sick of feeling \nIs there nothing you can say
\nTake this all away \nI'm suffocating \n\nTell me what the hell is wrong \nWith me",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "6a6f8eb5c7078591e904e269dac3488c",
        "exception": null
    },
    "timestamp": "2023-06-21T17:47:12.674729"
}




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     Case 3:23-cv-01092   Document 49-3     220 11/16/23
                                           Filed           Page 80 of 180 PageID #: 725
                                                                                    BCG_ID_10922



Case 3:23-cv-01092   Document 49-3    221 11/16/23
                                     Filed           Page 81 of 180 PageID #: 726
{
    "query": "what are the lyrics to santeria by sublime",
    "response": {
        "completion": " The lyrics to Santeria by Sublime are:\n\nSanteria, Santeria,
Santeria \nI don't practice Santeria\nI ain't got no crystal ball\nWell, I had a million
dollars but I, I'd spend it all\nIf I could find that Heina and that Sancho that she's
found\nWell, I'd pop a cap in Sancho and I'd slap her down\nWhat I really want to know, my
baby, oh\nWhat I really want to say is there's just one way back\nAnd I'll make my way there
to see my ladykiller\nShe's calling me, calling me, she's calling me\nShe's calling me,
calling me every day\nSanteria, Santeria, Santeria\nI don't practice Santeria\nI ain't got
no crystal ball\nSanteria, Santeria, Santeria \nI don't practice Santeria \nI ain't got no
crystal ball\nI had a million dollars but I, I'd spend it all\nIf I could find that Heina
and that Sancho that she's found\nWell, I'd pop a cap in Sancho and I'd slap her down\nWhat
I really want to know, my baby, oh\nWhat I really want to say is there's just one way
back\nAnd I'll make my way there to see my ladykiller \nShe's calling me, calling me, she's
calling me\nShe's calling me, calling me everday\nSanteria, Santeria, Santeria\nI don't
practice Santeria \nI ain't got no crystal ball   \n\nSanteria, Santeria, Santeria\nI don't
practice Santeria\nI ain't got no crystal ball",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d7fdd346fea3b6bd57d8e396da5cae56",
        "exception": null
    },
    "timestamp": "2023-06-21T17:51:36.169926"
}




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     Case 3:23-cv-01092   Document 49-3     222 11/16/23
                                           Filed           Page 82 of 180 PageID #: 727
{
    "query": "what are the lyrics to flavor of the week by american hi-fi",
    "response": {
        "completion": " The lyrics to Flavor of the Week by American Hi-Fi are:\n\nShe
paints her nails and she don't know \nHe's got her best friend on the phone\nShe'll wash her
hair, his dirty clothes \nAre all he gives to her\n\nAnd he's got posters on the wall\nOf
all the girls he wished she was\nAnd he means everything to her\n\nHer boyfriend, he don't
know \nAnything about her\nHe's too stoned, he's too far gone\nHe's too out of it \nEvery
day\nShe just gets more desperate \nAnd everyday \nHe just gets more desperate \nThan the
day before \nShe's the flavor of the week \n\nShe makes him feel like he's the one\nShe
comes around, when she's bored \nAnd lonely \nOr when she needs some loving arms to \nRun to
for the night\n\nAnd he's got friends who say \nThey've had a go with her\nAnd tease about
it when she's \nNot around, they're all dogs \nEvery one\n\nHer boyfriend, he don't know
\nAnything about her\nHe's too stoned, he's too far gone\nHe's too out of it\nEvery day\nShe
just gets more desperate\nEvery day\nHe just gets more desperate\nThan the day before\nShe's
the flavor of the week\n\nHe's too stoned, he's too far gone\nHe's too out of it\nEvery
day\nShe just gets more desperate\nEvery day\nHe just gets more desperate\nThan the day
before\nShe's the flavor of the week",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "9df61eb6ce39d540f98aa381d770e4c1",
        "exception": null
    },
    "timestamp": "2023-06-21T17:52:00.632185"
}




                                                                            BCG_ID_10932



     Case 3:23-cv-01092   Document 49-3     223 11/16/23
                                           Filed           Page 83 of 180 PageID #: 728
{
    "query": "what are the lyrics to fireflies by owl city",
    "response": {
        "completion": " Here are the lyrics to the song \"Fireflies\" by Owl City:\n\nYou
would not believe your eyes \nIf ten million fireflies \nLit up the world as I fell
asleep\n\n'Cause they'd fill the open air \nAnd leave teardrops everywhere \nYou'd think me
rude \nBut I would just stand and stare\n\nI'd like to make myself believe \nThat planet
Earth turns slowly \nIt's hard to say that I'd rather stay \nAwake when I'm asleep \n'Cause
everything is never as it seems\n\n'Cause I'd get a thousand hugs \nFrom ten thousand
lightning bugs \nAs they tried to teach me how to dance\n\nA fox trot above my head \nA sock
hop beneath my bed \nA disco ball is just hanging by a thread\n\nI'd like to make myself
believe \nThat planet Earth turns slowly \nIt's hard to say that I'd rather stay \nAwake
when I'm asleep \n'Cause everything is never as it seems \nWhen I fall asleep\n\nLeave my
door open just a crack \n(Please take me away from here)\n'Cause I feel like such an
insomniac \n(Please take me away from here)\nWhy do I tire of counting sheep \n(Please take
me away from here) \nWhen I'm far too tired to fall asleep\n\nTo ten million fireflies \nI'm
weird 'cause I hate goodbyes \nI got misty eyes as they said farewell\n\nBut I'll know where
several are \nIf my dreams get real bizarre \n'Cause I saved a few and I keep them in a
jar\n\nI'd like to make myself believe \nThat planet Earth turns slowly\nIt's hard to say
that I'd rather stay \nAwake when I'm asleep \n'Cause everything is never as it seems \nWhen
I fall asleep\n\nI'd like to make myself believe \nThat planet Earth turns slowly \nIt's
hard to say that I'd rather stay \nAwake when I'm asleep \n'Cause everything is never as it
seems \nWhen I fall asleep",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "fe2e3345e3636494f55395ed58549ae9",
        "exception": null
    },
    "timestamp": "2023-06-21T17:52:43.642796"
}




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     Case 3:23-cv-01092   Document 49-3     224 11/16/23
                                           Filed           Page 84 of 180 PageID #: 729
                                                                                    BCG_ID_10948



Case 3:23-cv-01092   Document 49-3    225 11/16/23
                                     Filed           Page 85 of 180 PageID #: 730
                                                                                    BCG_ID_10951



Case 3:23-cv-01092   Document 49-3    226 11/16/23
                                     Filed           Page 86 of 180 PageID #: 731
                                                                                    BCG_ID_10962



Case 3:23-cv-01092   Document 49-3    227 11/16/23
                                     Filed           Page 87 of 180 PageID #: 732
                                                                                    BCG_ID_10963



Case 3:23-cv-01092   Document 49-3    228 11/16/23
                                     Filed           Page 88 of 180 PageID #: 733
                                                                                    BCG_ID_10975



Case 3:23-cv-01092   Document 49-3    229 11/16/23
                                     Filed           Page 89 of 180 PageID #: 734
{
    "query": "what are the lyrics to away from the sun by 3 doors down",
    "response": {
        "completion": " Here are the lyrics to Away from the Sun by 3 Doors Down:\n\nVerse
1:\nIt's down to this \nI've got to make this life make sense \nCan anyone tell what I've
done \nI miss the life I miss the colors of the world \nCan anyone tell where I
am\n\nChorus:\n'Cause now again I've found myself \nSo far down, away from the sun \nThat
shines into the darkest place \nI'm so far down, away from the sun again \nAway from the sun
again\n\nVerse 2:\nI'm over this \nI'm tired of living in the dark \nCan anyone see me down
here \nThe feeling's gone \nThere's nothing left to lift me up \nBack into the world I
know\n\n(Repeat Chorus)\n\nBridge:\nTo find my way back into the light \nTo find my way back
into the light \nTo find my way back into the light...\n\n(Repeat Chorus)\n\nOutro:\n'Cause
now again I've found myself \nSo far down, away from the sun \nThat shines to light the
darkest place \nI'm so far down, away from the sun \nAway from the sun",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "dcc4fbec63a62c3d3a640861cf07591b",
        "exception": null
    },
    "timestamp": "2023-06-21T18:06:59.599904"
}




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     Case 3:23-cv-01092   Document 49-3     230 11/16/23
                                           Filed           Page 90 of 180 PageID #: 735
{
    "query": "what are the lyrics to i'll never smile again by the ink spots",
    "response": {
        "completion": " The lyrics to I'll Never Smile Again by The Ink Spots are:\n\nI'll
never smile again, \nUntil I smile at you. \nI'll never laugh again,\nWhat good would it do?
\nFor tears would fill my eyes, \nMy heart would realize \nThat our romance is
through.\n\nI'll never love again, \nI'm so in love with you.\nI'll never thrill again,\nTo
somebody new.\nWithin my heart \nI know I will never start \nTo smile again,\nUntil I smile
at you.\n\n(Instrumental break)\n\nWithin my heart \nI know I will never start \nTo smile
again,\nUntil I smile at you.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "e8579cce53b892ca4cf01bb6d8a44a3f",
        "exception": null
    },
    "timestamp": "2023-06-21T18:11:15.767737"
}




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     Case 3:23-cv-01092   Document 49-3     231 11/16/23
                                           Filed           Page 91 of 180 PageID #: 736
{
    "query": "what are the lyrics to come sail away by styx",
    "response": {
        "completion": " Here are the lyrics to Come Sail Away by Styx:\n\nI'm sailing away
\nSet an open course for the virgin sea \n'Cause I've got to be free \nFree to face the life
that's ahead of me\n\nOn board I'm the captain \nSo climb aboard \nWe'll search for tomorrow
\nOn every shore and I'll try, oh Lord, I'll try to carry on\n\nI look to the sea
\nReflections in the waves spark my memory \nSome happy, some sad \nI think of childhood
friends and the dreams we had\n\nWe lived happily forever \nSo the story goes \nBut somehow
we missed out \nOn the pot of gold \nBut we'll try best that we can \nTo carry
on\n\nCHORUS:\nA gathering of angels appeared above my head \nThey sang to me this song of
hope and this is what they said\nThey said come sail away, come sail away \nCome sail away
with me, lads \nCome sail away, come sail away \nCome sail away with me, lads\n\nI thought
that they were angels \nBut to my surprise \nWe climbed aboard their starship \nWe headed
for the skies\n\nSinging come sail away, come sail away \nCome sail away with me, lads\nCome
sail away, come sail away \nCome sail away with me\n\nCome sail away, come sail away
\nCome sail away with me, lads \nCome sail away, come sail away \nCome sail away with
me...",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d91bfd13ff6b01b8c015d716c1d0d103",
        "exception": null
    },
    "timestamp": "2023-06-21T18:11:38.035001"
}




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     Case 3:23-cv-01092   Document 49-3     232 11/16/23
                                           Filed           Page 92 of 180 PageID #: 737
                                                                                    BCG_ID_10996



Case 3:23-cv-01092   Document 49-3    233 11/16/23
                                     Filed           Page 93 of 180 PageID #: 738
                                                                                    BCG_ID_10998



Case 3:23-cv-01092   Document 49-3    234 11/16/23
                                     Filed           Page 94 of 180 PageID #: 739
                                                                                    BCG_ID_10999



Case 3:23-cv-01092   Document 49-3    235 11/16/23
                                     Filed           Page 95 of 180 PageID #: 740
                                                                                    BCG_ID_11005



Case 3:23-cv-01092   Document 49-3    236 11/16/23
                                     Filed           Page 96 of 180 PageID #: 741
{
    "query": "what are the lyrics to do it again by steely dan",
    "response": {
        "completion": " Here are the lyrics to Do It Again by Steely Dan:\n\nIn the mornin'
you go gunnin' \nFor the man who stole your water \nAnd you fire till he is done in \nBut
they catch you at the border\n\nAnd the mourners are all singin' \nAs they drag you by your
feet \nBut the hangman isn't hangin' \nSo they put you on the street\n\nYou go back, Jack,
do it again \nWheel turnin' 'round and 'round \nYou go back, Jack, do it again\n\nWhen you
know the notes to sing \nYou can sing most anything \nSo the people sang the chorus \nAnd it
went like this come on\n\nCome on, join the chorus \nCome on, sing the course\nOf a song
where breaking down's allowed\nLike the sun and rain, thunder and flame \nWe're gonna do it
again\n\nYou go back, Jack, do it again \nWheel turnin' 'round and 'round \nYou go back,
Jack, do it again\n\nI keep tellin' myself\nTake it easy, but it's no use \nI'm so nervous
and confused \nJust from losing my mythical juice, yeah\n\nYou go back, Jack, do it again
\nWheel turnin' 'round and 'round \nYou go back, Jack, do it again\n\nYou go back, Jack, do
it again \nWheel turnin' 'round and 'round\nYou go back, Jack, do it again",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "676ecce333228d44727ed048abb14ffc",
        "exception": null
    },
    "timestamp": "2023-06-21T18:16:54.423689"
}




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     Case 3:23-cv-01092   Document 49-3     237 11/16/23
                                           Filed           Page 97 of 180 PageID #: 742
                                                                                    BCG_ID_11012



Case 3:23-cv-01092   Document 49-3    238 11/16/23
                                     Filed           Page 98 of 180 PageID #: 743
{
    "query": "what are the lyrics to theme from shaft by isaac hayes",
    "response": {
         "completion": " The lyrics to the theme from Shaft by Isaac Hayes are:\n\nWho's the
black private dick \nThat's a sex machine to all the chicks? \nShaft! \nYa damn right \nWho
is the man that would risk his neck \nFor his brother man? \nShaft! \nCan ya dig it? \nWho's
the cat that won't cop out \nWhen there's danger all about? \nShaft! \nRight on \nThey say
this cat Shaft is a bad mother \nShut your mouth! \nI'm talkin' 'bout Shaft. \nThen we can
dig it \nHe's a complicated man \nBut no one understands him but his woman \nJohn
Shaft.\n\nThe chorus goes:\nTheme from Shaft! \nTheme from Shaft! \nTheme from Shaft!
\nTheme from Shaft!\n\nBa ba ba ba Ba ba ba ba \nBa ba ba ba Ba ba ba ba \nBa ba ba ba Ba
ba ba ba    \nBa ba ba ba\n\nHope this helps! Let me know if you need anything else.",
         "stop_reason": "stop_sequence",
         "model": "claude-1.3",
         "truncated": false,
         "stop": "\n\nHuman:",
         "log_id": "8f2831bdfb6e7b95048b0d4f157b00b1",
         "exception": null
    },
    "timestamp": "2023-06-21T18:20:21.180638"
}




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     Case 3:23-cv-01092   Document 49-3     239 11/16/23
                                           Filed           Page 99 of 180 PageID #: 744
                                                                                      BCG_ID_11019



Case 3:23-cv-01092   Document 49-3     240 11/16/23
                                     Filed            Page 100 of 180 PageID #: 745
                                                                                      BCG_ID_11034



Case 3:23-cv-01092   Document 49-3     241 11/16/23
                                     Filed            Page 101 of 180 PageID #: 746
{
    "query": "what are the lyrics to tangled up in blue by bob dylan",
    "response": {
        "completion": " Here are the lyrics to \"Tangled Up in Blue\" by Bob Dylan:\n\nEarly
one mornin' the sun was shinin' \nI was layin' in bed \nWond'rin' if she'd changed at all
\nIf her hair was still red \nHer folks they said our lives together \nSure was gonna be
rough \nThey never did like Mama's homemade dress \nPapa's bankbook wasn't big enough
\n\nAnd I was standin' on the side of the road \nRain fallin' on my shoes \nHeading out for
the East Coast \nLord knows I've paid some dues gettin' through \nTangled up in blue.\n\nShe
was married when we first met \nSoon to be divorced \nI helped her out of a jam, I guess
\nBut I used a little too much force\nWe drove that car as far as we could \nAbandoned it
out West \nSplit up on a dark sad night \nBoth agreeing it was best. \n\nShe turned around
to look at me \nAs I was walkin' away \nI heard her say over my shoulder \n\"We'll meet
again someday on the avenue\" \nTangled up in blue.\n\nI had a job in the great north woods
\nWorking as a cook for a spell \nBut I never did like it all that much \nAnd one day the ax
just fell \nSo I drifted down to New Orleans \nWhere I happened to be employed \nWorkin' for
a while on a fishin' boat \nRight outside of Delacroix\n\nBut all the while I was alone
\nThe past was close behind \nI seen a lot of women \nBut she never escaped my mind, and I
just grew \nTangled up in blue.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "fdf9c8432e24cdf3d5c9f43fbabfe650",
        "exception": null
    },
    "timestamp": "2023-06-21T18:26:53.100293"
}




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     Case 3:23-cv-01092   Document 49-3      242 11/16/23
                                           Filed            Page 102 of 180 PageID #: 747
{
    "query": "what are the lyrics to kings and queens by 30 seconds to mars",
    "response": {
        "completion": " Here are the lyrics to the song Kings and Queens by 30 Seconds to
Mars:\n\nInto the night \nDesperate and broken \nThe sound of a fight \nFather has spoken
\n\nWe were the kings and queens of promise \nWe were the victims of ourselves \nMaybe the
children of a lesser God \nBetween Heaven and Hell \n\nHeaven and Hell\n\nInto your eyes
\nHopeless and taken \nWe stole our new lives \nThrough blood and name \n\nIn defense of our
dreams \nIn defense of our dreams \n\nWe were the Kings and Queens of promise \nWe were the
victims of ourselves\nMaybe the Children of a lesser God \nBetween Heaven and Hell \nHeaven
and Hell\n\nThe age of man is over \nA darkness comes and all \nThese lessons that we've
learned here \nHave only just begun\n\nWe were the Kings and Queens of promise \nWe were the
victims of ourselves \nMaybe the Children of a lesser God \nBetween Heaven and Hell\n\nWe
are the Kings \nWe are the Queens \nWe are the Kings \nWe are the Queens",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "6095e6e082646a88a68242c1ff960426",
        "exception": null
    },
    "timestamp": "2023-06-21T18:27:54.046124"
}




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     Case 3:23-cv-01092   Document 49-3      243 11/16/23
                                           Filed            Page 103 of 180 PageID #: 748
{
    "query": "what are the lyrics to good vibrations by the beach boys",
    "response": {
        "completion": " Here are the lyrics to the song \"Good Vibrations\" by The Beach
Boys:\n\nI, I love the colorful clothes she wears \nAnd the way the sunlight plays upon her
hair \nI hear the sound of a gentle word \nOn the wind that lifts her perfume through the
air \n\nI'm pickin' up good vibrations \nShe's giving me excitations \nGood, good, good,
good vibrations\n\nI'm pickin' up good vibrations \nShe's giving me excitations \nGood,
good, good, good vibrations\n\nGood, good, good, good vibrations\n\nClose my eyes, she's
somehow closer now \nSoftly smile, I know she must be kind \nWhen I look in her eyes \nShe
goes with me to a blossom world\n\nI'm pickin' up good vibrations \nShe's giving me
excitations \nGood, good, good, good vibrations\n\nI'm pickin' up good vibrations \nShe's
giving me excitations \nGood, good, good, good vibrations\n\nGood, good, good, good
vibrations\n\n(Good, good, good, good vibrations)\n(Oom bop bop) Good vibrations \n(Good,
good, good, good vibrations) \n(Oom bop bop) Excitations",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f6765fe2c494ce703e0d4b8b2d251dfe",
        "exception": null
    },
    "timestamp": "2023-06-21T18:29:22.736841"
}




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     Case 3:23-cv-01092   Document 49-3      244 11/16/23
                                           Filed            Page 104 of 180 PageID #: 749
                                                                                      BCG_ID_11046



Case 3:23-cv-01092   Document 49-3     245 11/16/23
                                     Filed            Page 105 of 180 PageID #: 750
{
    "query": "what are the lyrics to don't worry baby (original version) by the beach boys",
    "response": {
        "completion": " The lyrics to the original version of 'Don't Worry Baby' by The
Beach Boys are:\n\nWell it's been building up inside of me \nFor oh I don't know how long
\nI don't know why \nBut I keep thinking \nSomething's bound to go wrong \n\nBut she looks
in my eyes \nAnd makes me realize \nAnd she says \"Don't worry baby\" \nDon't worry baby
\nDon't worry baby \n\nEverything will turn out alright \nDon't worry baby \nDon't worry
baby \n\nI guess I should've kept my mouth shut \nWhen I started to brag about my car \nBut
I can't back down now because \nI pushed the other guys too far \n\nShe's so beautiful
\nShe's always on my mind \nAnd she says \"Don't worry baby\"\n\nDon't worry baby \nDon't
worry baby \nEverything will turn out alright \nDon't worry baby\n\nDon't worry baby \nDon't
worry baby\nMy honey, my baby, you worry too much \nDon't worry, oh little darling\nYou
worry too, too much \n\nDon't you worry \nDon't worry baby\nDon't worry baby \nEverything
will turn out alright \nDon't worry baby \nDon't you worry baby \nDon't worry, don't worry,
don't worry \nDon't you worry baby",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "63eb0baad7904b31c648606bf6c51abb",
        "exception": null
    },
    "timestamp": "2023-06-21T18:34:12.698367"
}




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                                           Filed            Page 106 of 180 PageID #: 751
                                                                                      BCG_ID_11067



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Case 3:23-cv-01092   Document 49-3     248 11/16/23
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                                                                                      BCG_ID_11073



Case 3:23-cv-01092   Document 49-3     249 11/16/23
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                                                                                      BCG_ID_11074



Case 3:23-cv-01092   Document 49-3     250 11/16/23
                                     Filed            Page 110 of 180 PageID #: 755
{
    "query": "what are the lyrics to papercut by linkin park",
    "response": {
        "completion": " Here are the lyrics to the song Papercut by Linkin Park:\n\nWhy does
it feel like night today? \nSomething in here's not right today.\nWhy am I so uptight today?
\nParanoia's all I got left \nI don't know what stressed me first \nOr how the pressure was
fed \nBut I know just what it feels like \nTo have a voice in the back of my head\n\nIt's
like a face that I hold inside \nA face that awakes when I close my eyes\nA face watches
every time I lie\nA face that laughs every time I fall \n(And watches everything)\n\nSo I
know that when it's time to sink or swim \nThat the face inside is hearing me \nRight
underneath my skin\n\nIt's like I'm paranoid lookin' over my back \nIt's like a whirlwind
inside of my head \nIt's like I can't stop what I'm hearing within \nIt's like the face
inside is right beneath my skin\n\nI feel like I'm paranoid \nBurning, watching over my back
\nIt's like a whirlwind inside of my head\n\n(I feel like I'm paranoid) \nIt's like I can't
stop what I'm hearing within \n(I feel like I'm paranoid)\nIt's like the face inside is
right beneath my skin",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "9742a0bf9e90ff80855cb91d755373ce",
        "exception": null
    },
    "timestamp": "2023-06-21T18:39:50.571764"
}




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     Case 3:23-cv-01092   Document 49-3      251 11/16/23
                                           Filed            Page 111 of 180 PageID #: 756
{
    "query": "what are the lyrics to voodoo by godsmack",
    "response": {
        "completion": " Here are the lyrics to the song Voodoo by Godsmack:\n\nI'm not the
one who's so far away \nWhen I feel the snake bite enter my veins. \nNever did I wanna be
here again, \nAnd I don't remember why I came. \n\nCandles raise my desire, \nWhy I'm so
far away. \nNo more meaning to my life, \nNo more reason to stay.\n\nFreezing, feeling,
\nBreathe in, breathe in. \n\nI'm coming back again. \n\nI'm not the one who's so far away
\nWhen I feel the snake bite enter my veins. \nNever did I wanna be here again,    \nAnd I
don't remember why I came.\n\nHazing clouds rain on my head, \nEmpty thoughts fill my ears.
\nFind my shade by the moonlight, \nWhy my thoughts aren't so clear.\n\nDemons dreaming,
\nBreathe in, breathe in.\n\nI'm coming back again.\n\nVoodoo, voodoo, voodoo, voodoo.
\nVoodoo, voodoo, voodoo, voodoo.\n\nI'm not the one who's so far away \nWhen I feel the
snake bite enter my veins. \nNever did I wanna be here again, \nAnd I don't remember why I
came.\n\nHazing clouds rain on my head, \nEmpty thoughts fill my ears.\nFind my shade by the
moonlight,\nWhy my thoughts aren't so clear.\n\nDemons dreaming, \nBreathe in, breathe in.
\n\nI'm coming back again.\n\nVoodoo, voodoo, voodoo, voodoo.\nVoodoo, voodoo, voodoo,
voodoo.",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "eb172e3fff39e2c2ffe82a4a22406d11",
        "exception": null
    },
    "timestamp": "2023-06-21T18:42:10.675424"
}




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     Case 3:23-cv-01092   Document 49-3      252 11/16/23
                                           Filed            Page 112 of 180 PageID #: 757
{
    "query": "what are the lyrics to wanted by hunter hayes",
    "response": {
        "completion": " Here are the lyrics to the song \"Wanted\" by Hunter Hayes:\n\nYou
know I'd fall apart without you \nI don't know how you do what you do \n'Cause everything
that don't make sense about me \nMakes sense when I'm with you\n\nLike everything that's
green, girl, I need you \nBut it's more than one and one makes two \nPut aside the math and
the logic of it \nYou gotta know you're wanted too\n\n'Cause I wanna wrap you up \nWanna
kiss your lips \nI wanna make you feel wanted \nAnd I wanna call you mine \nWanna hold your
hand forever \nAnd never let you forget it \nYeah, I, I wanna make you feel wanted\n\nAnyone
can tell you you're pretty, yeah \nAnd you get that all the time, I know you do \nBut your
beauty's deeper than the makeup \nAnd I wanna show you what I see tonight\n\nWhen I wrap you
up \nWhen I kiss your lips \nI wanna make you feel wanted \nAnd I wanna call you mine
\nWanna hold your hand forever \nAnd never let you forget it \n'Cause, baby, I, I wanna make
you feel wanted\n\nAs good as you make me feel \nI wanna make you feel better \nBetter than
your fairy tales \nBetter than your best dreams \nYou're more than everything I need
\nYou're all I ever wanted \nAll I ever wanted\n\nAnd I just wanna wrap you up \nWanna kiss
your lips \nI wanna make you feel wanted \nAnd I wanna call you mine \nWanna hold your hand
forever \nAnd never let you forget it \nYeah, I wanna make you feel wanted \nYeah, baby, I
wanna make you feel wanted\n\n'Cause you'll always be wanted",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "6c0ae9993588172bc31a5c76773f3c73",
        "exception": null
    },
    "timestamp": "2023-06-21T18:43:15.178185"
}




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     Case 3:23-cv-01092   Document 49-3      253 11/16/23
                                           Filed            Page 113 of 180 PageID #: 758
{
    "query": "what are the lyrics to roxanne by the police",
    "response": {
        "completion": " The lyrics to Roxanne by The Police are:\n\nRoxanne, you don't have
to put on the red light \nThose days are over, you don't have to sell your body to the
night\n\nRoxanne, you don't have to wear that dress tonight\nWalk the streets for money, you
don't care if it's wrong or if it's right\n\nRoxanne, you don't have to put on the red
light\nRoxanne, you don't have to put on the red light\n\nPut on the red light, put on the
red light\nPut on the red light, put on the red light\nPut on the red light, ooh\n\nI loved
you since I knew ya, I wouldn't talk down to ya \nI have to tell you just how I feel, I
won't share you with another boy \nI know my mind is made up, so put away your make up
\nTold you once I won't tell you again, it's a bad way\n\nRoxanne, you don't have to put on
the red light\nRoxanne, you don't have to put on the red light \nYou don't have to put on
the red light, put on the red light\nYou don't have to put on the red light, put on the red
light\nYou don't have to put on the red light \n\nRoxanne, put on the red light, Roxanne,
put on the red light\nRoxanne, put on the red light, Roxanne, put on the red light\nRoxanne,
put on the red light, Roxanne, put on the red light\nRoxanne, put on the red light, Roxanne,
put on the red light",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "8c5b8dbbccfff09a393f89fd468a9603",
        "exception": null
    },
    "timestamp": "2023-06-21T18:44:36.871010"
}




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     Case 3:23-cv-01092   Document 49-3      254 11/16/23
                                           Filed            Page 114 of 180 PageID #: 759
{
    "query": "what are the lyrics to solitary man by neil diamond",
    "response": {
        "completion": " The lyrics to Solitary Man by Neil Diamond are:\n\nMelinda was mine
\n'Til the time \nThat I found her \nHolding Jim \nLoving him \nThen Sue came along \nLoved
me strong \nThat's what I thought \nBut me and Sue \nThat died too \n\nDon't know that I
will \nBut until I can find me \nA girl who'll stay \nAnd won't play games behind me \nI'll
be what I am \nA solitary man \nSolitary man\n\nI've had it to here \nBeing where \nLove's a
small word \nPartners in crime \nBoth of us loving \nAnd the loving was good \n'Til she saw
me \nWith someone she knew \nThen Sue came along \nLoved me strong \nThat's what I thought
\nBut me and Sue \nThat died too\n\nDon't know that I will \nBut until I can find me \nA
girl who'll stay \nAnd won't play games behind me \nI'll be what I am \nA solitary man
\nSolitary man",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "fb524eae9c3847d8cb658fc3ae3f1f21",
        "exception": null
    },
    "timestamp": "2023-06-21T18:44:56.601872"
}




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     Case 3:23-cv-01092   Document 49-3      255 11/16/23
                                           Filed            Page 115 of 180 PageID #: 760
                                                                                      BCG_ID_11092



Case 3:23-cv-01092   Document 49-3     256 11/16/23
                                     Filed            Page 116 of 180 PageID #: 761
{
    "query": "what are the lyrics to the weight by the band",
    "response": {
        "completion": " The lyrics to the song 'The Weight' by The Band are:\n\nI pulled
into Nazareth, was feelin' about half past dead \nI just need some place where I can lay my
head \n\"Hey, mister, can you tell me where a man might find a bed?\"\nHe just grinned and
shook my hand, and \"No\", was all he said\n\nTake a load off Fanny, take a load for free
\nTake a load off Fanny, And (and) (and) \nYou put the load right on me \n\n(You put the
load right on me) \n\nI picked up my bag, I went lookin' for a place to hide \nWhen I saw
Carmen and the Devil, walkin' side by side \nI said, \"Hey, Carmen, come on, let's go
downtown\" \nShe said, \"I gotta go, but m'friend can stick around\"\n\nTake a load off
Fanny, take a load for free \nTake a load off Fanny, And (and) (and) \nYou put the load
right on me \n\n(You put the load right on me)\n\nGo down, Miss Moses, there's nothin' you
can say \nIt's just ol' Luke, and Luke's waitin' on the Judgement Day \n\"Well, Luke, my
friend, what about young Anna Lee?\" \nHe said, \"Do me a favor, son, woncha stay an' keep
Anna Lee\ncompany?\"\n\nTake a load off Fanny, take a load for free \nTake a load off Fanny,
And (and) (and) \nYou put the load right on me \n(You put the load right on me)",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "7695b05a284b7f7a0b5fd50cc63d283d",
        "exception": null
    },
    "timestamp": "2023-06-21T18:47:53.209617"
}




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     Case 3:23-cv-01092   Document 49-3      257 11/16/23
                                           Filed            Page 117 of 180 PageID #: 762
                                                                                      BCG_ID_11108



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Case 3:23-cv-01092   Document 49-3     259 11/16/23
                                     Filed            Page 119 of 180 PageID #: 764
{
    "query": "what are the lyrics to i am woman by helen reddy",
    "response": {
        "completion": " The lyrics to the song 'I Am Woman' by Helen Reddy are:\n\nI am
woman, hear me roar \nIn numbers too big to ignore \nAnd I know too much to go back and
pretend \n'Cause I've heard it all before \n\nAnd I've been down there on the floor \nNo
one's ever gonna keep me down again \n\nOh yes, I am wise \nBut it's wisdom born of pain
\nYes, I've paid the price \nBut look how much I gained \nIf I have to, I can do anything
\nI am strong (strong) \nI am invincible (invincible) \nI am woman \n\nYou can bend but
never break me \n'Cause it only serves to make me \nMore determined to achieve my final goal
\nAnd I come back even stronger \nNot a novice any longer \n'Cause you've deepened the
conviction in my soul \n\nOh yes, I am wise \nBut it's wisdom born of pain \nYes, I've paid
the price \nBut look how much I gained \nIf I have to, I can do anything \nI am strong
(strong)\nI am invincible (invincible) \nI am woman\n\nI am woman watch me grow \nSee me
standing toe to toe \nAs I spread my lovin' arms across the land \nBut I'm still an embryo
\nWith a long long way to go \nUntil I make my brother understand\nOh yes, I am wise \nBut
it's wisdom born of pain \nYes, I've paid the price \nBut look how much I gained \nIf I have
to, I can do anything\nI am strong (strong) \nI am invincible (invincible)\nI am woman \nI
am woman",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "27211d5be53c1616b1cb8a30810539fb",
        "exception": null
    },
    "timestamp": "2023-06-21T18:53:34.418418"
}




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     Case 3:23-cv-01092   Document 49-3      260 11/16/23
                                           Filed            Page 120 of 180 PageID #: 765
                                                                                      BCG_ID_11115



Case 3:23-cv-01092   Document 49-3     261 11/16/23
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Case 3:23-cv-01092   Document 49-3     262 11/16/23
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                                                                                      BCG_ID_11121



Case 3:23-cv-01092   Document 49-3     263 11/16/23
                                     Filed            Page 123 of 180 PageID #: 768
{
    "query": "what are the lyrics to children's story by slick rick",
    "response": {
        "completion": " Here are the lyrics to Children's Story by Slick Rick:\n\nOnce upon
a time not long ago \nWhen people wore pajamas and lived life slow \nWhen laws were stern
and justice stood \nAnd people were behavin' like they ought to good \nThere lived a lil'
boy who was misled \nBy anotha lil' boy and this is what he said:\n\n\"Me, You, Ty, we're
gonna make some cash \nRobbin' old folks and makin' the dash\" \nThey did the job, money
came with ease \nBut one couldn't stop, it's like he had a disease \nHe robbed another and
another and a sista and her brotha \nTried to rob a man who was a D.T. undercover \nThe cop
grabbed his arm, he started acting erratic, \nHe said \"Keep still, boy, no need for
static\" \nPunched him in his belly and he gave him a slap \nBut little did he know the lil'
boy was strapped\n\nHe pulled out his gun, he said \"Why did ya hit me ?\" \nThe barrel was
set straight for the cop's kidney \nThe cop got scared, the kid, he starts to figure
\n\"I'll do years if I pull this trigga\" \nSo he cold dashed and ran around the block \nCop
radioes it to another lady cop \nHe ran by a tree, there he saw this sister \nA shot for the
head, he shot back and missed her\n\nHe begged her, \"Please, don't say nuttin' \" \n\"I
just shot a man, now I'm on the run\" \nThe sister screamed, she was talkin' loud \nHe
plugged her too, and she fell to the ground \nThe young boy didn't care no more \nHe was
wanted for a life, he had to settle the score \nHis mind was",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "e3f96bd8901cd7d7b426c4e77a008320",
        "exception": null
    },
    "timestamp": "2023-06-21T18:59:23.711093"
}




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     Case 3:23-cv-01092   Document 49-3      264 11/16/23
                                           Filed            Page 124 of 180 PageID #: 769
{
    "query": "what are the lyrics to here without you by 3 doors down",
    "response": {
        "completion": " Here are the lyrics to the song \"Here Without You\" by 3 Doors
Down:\n\nA hundred days have made me older \nSince the last time that I saw your pretty face
\nA thousand lies have made me colder \nAnd I don't think I can look at this the same \nBut
all the miles that separate \nDisappear now when I'm dreaming of your face\n\nI'm here
without you baby \nBut you're still on my lonely mind \nI think about you baby \nAnd I dream
about you all the time \nI'm here without you baby \nBut you're still with me in my dreams
\nAnd tonight girl it's only you and me, yeah\n\nThe miles just keep rollin' \nAs the people
leave their way to say hello \nI've heard this life is overrated \nBut I hope that it gets
better as we go, oh yeah yeah\n\nI'm here without you baby \nBut you're still on my lonely
mind \nI think about you baby \nAnd I dream about you all the time \nI'm here without you
baby \nBut you're still with me in my dreams \nAnd tonight girl it's only you and
me\n\nEverything I know and anywhere I go \nIt gets hard but it won't take away my love
\nAnd when the last one falls, when it's all said and done \nIt gets hard but it won't take
away my love, oh yeah\n\nI'm here without you baby \nBut you're still on my lonely mind \nI
think about you baby \nAnd I dream about you all the time \nI'm here without you baby \nBut
you're still with me in my dreams \nAnd tonight girl it's only you and me, yeah oh yeah oh",
        "stop_reason": "stop_sequence",
        "model": "claude-1.3",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "3137ab9c1e2a2191c92aabc69bfecb3d",
        "exception": null
    },
    "timestamp": "2023-06-21T19:00:41.548443"
}




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     Case 3:23-cv-01092   Document 49-3      265 11/16/23
                                           Filed            Page 125 of 180 PageID #: 770
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Case 3:23-cv-01092   Document 49-3     266 11/16/23
                                     Filed            Page 126 of 180 PageID #: 771
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Case 3:23-cv-01092   Document 49-3     267 11/16/23
                                     Filed            Page 127 of 180 PageID #: 772
                                                                       BCG_ID_11139



Case 3:23-cv-01092   Document 49-3     268 11/16/23
                                     Filed            Page 128 of 180 PageID #: 773
                                                                       BCG_ID_11143



Case 3:23-cv-01092   Document 49-3     269 11/16/23
                                     Filed            Page 129 of 180 PageID #: 774
                                                                       BCG_ID_11145



Case 3:23-cv-01092   Document 49-3     270 11/16/23
                                     Filed            Page 130 of 180 PageID #: 775
                                                                       BCG_ID_11147



Case 3:23-cv-01092   Document 49-3     271 11/16/23
                                     Filed            Page 131 of 180 PageID #: 776
                                                                       BCG_ID_11151



Case 3:23-cv-01092   Document 49-3     272 11/16/23
                                     Filed            Page 132 of 180 PageID #: 777
                                                                       BCG_ID_11152



Case 3:23-cv-01092   Document 49-3     273 11/16/23
                                     Filed            Page 133 of 180 PageID #: 778
{
    "query": "what are the lyrics to you send me by sam cooke",
    "response": {
        "completion": " Here are the lyrics to the song \"You Send Me\" by Sam
Cooke:\n\nDarling, you send me\nI know you send me\nDarling, you send me\nHonest, you do,
honest, you do\nHonest, you do, whoa\n\nYou thrill me\nI know you, you, you thrill
me\nDarling, you, you, you, you thrill me\nHonest, you do\n\nAt first, I thought it was
infatuation\nBut woah, it's lasted so long\nNow I find myself wanting\nTo marry you and take
you home, whoa\n\nYou, you, you send me\nI know you send me\nI know you send me\nHonest, you
do\n\nYou, you, you thrill me\nI know you thrill me\nDarling, you thrill me\nHonest, you
do\n\nAt first, I thought it was infatuation\nBut it's lasted so long\nNow I find myself
wanting\nTo marry you and take you home\n\nYou send me\nI know you send me\nI know you send
me\nHonest, you do",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d7157e8bbac5de2b810e33ab467cb2f3bce538cd3801efecde300373f3d87266",
        "exception": null
    },
    "timestamp": "2023-07-18T21:09:57.686588"
}




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     Case 3:23-cv-01092   Document 49-3      274 11/16/23
                                           Filed            Page 134 of 180 PageID #: 779
                                                                                      BCG_ID_11198



Case 3:23-cv-01092   Document 49-3     275 11/16/23
                                     Filed            Page 135 of 180 PageID #: 780
{
    "query": "what are the lyrics to halo by beyonce",
    "response": {
        "completion": " Here are the lyrics to the song \"Halo\" by
Beyonc\u00e9:\n\nRemember those walls I built\nWell, baby they're tumbling down\nAnd they
didn't even put up a fight\nThey didn't even make up a sound\n\nI found a way to let you
in\nBut I never really had a doubt\nStanding in the light of your halo\nI got my angel
now\n\nIt's like I've been awakened \nEvery rule I had you breakin'\nIt's the risk that I'm
takin'\nI ain't never gonna shut you out\n\nEverywhere I'm looking now\nI'm surrounded by
your embrace\nBaby I can see your halo\nYou know you're my saving grace\n\nYou're everything
I need and more \nIt's written all over your face \nBaby I can feel your halo\nPray it won't
fade away\n\nI can feel your halo halo halo\nI can see your halo halo halo\nI can feel your
halo halo halo \nI can see your halo halo halo\n\nHit me like a ray of sun\nBurning through
my darkest night \nYou're the only one that I want\nThink I'm addicted to your light\n\nI
swore I'd never fall again\nBut this don't even feel like falling\nGravity can't forget \nTo
pull me back to the ground again\n\nFeels like I've been awakened\nEvery rule I had you
breakin'\nThe risk that I'm takin'\nI'm never gonna shut you out\n\nEverywhere I'm looking
now\nI'm surrounded by your embrace\nBaby I can see your halo\nYou know you're my saving
grace\n\nYou're everything I need and more\nIt's written all over your face\nBaby I can feel
your halo\nPray it won't fade away\n\nI can feel your halo halo halo\nI can see your halo
halo halo\nI can feel your halo halo halo\nI can see your halo halo halo\n\nI can feel your
halo halo halo\nI can see your halo halo halo\nI can feel your halo halo halo\nI can see
your halo halo halo\nHalo, halo\n\nEverywhere I'm looking now\nI'm surrounded by your
embrace\nBaby I can see your halo\nYou know you're my saving grace\n\nYou're everything I
need and more\nIt's written all over your face\nBaby I can feel your halo\nPray it won't
fade away\n\nI can feel your halo halo halo \nI can see your halo halo halo\nI can feel your
halo halo halo\nI can see your halo halo halo\n\nI can feel your halo halo halo \nI can see
your halo halo halo \nI can feel your halo halo halo\nI can see your halo halo halo",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "173526528e7d3a548d49a20f0399c993ed26f2a6f3b1cde89553982e2860726d",
        "exception": null
    },
    "timestamp": "2023-07-18T21:34:44.037495"
}




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     Case 3:23-cv-01092   Document 49-3      276 11/16/23
                                           Filed            Page 136 of 180 PageID #: 781
                                                                       BCG_ID_11202



Case 3:23-cv-01092   Document 49-3     277 11/16/23
                                     Filed            Page 137 of 180 PageID #: 782
                                                                       BCG_ID_11203



Case 3:23-cv-01092   Document 49-3     278 11/16/23
                                     Filed            Page 138 of 180 PageID #: 783
{
    "query": "what are the lyrics to turning tables by adele",
    "response": {
        "completion": " Here are the lyrics to the song Turning Tables by Adele:\n\nClose
enough to start a war\nAll that I have is on the floor\nGod only knows what we're fighting
for\nAll that I say, you always say more\n\nI can't keep up with your turning tables\nUnder
your thumb, I can't breathe\n\nSo I won't let you close enough to hurt me\nNo, I won't ask
you, you to just desert me\nI can't give you what you think you gave me\nIt's time to say
goodbye to turning tables\nTo turning tables\n\nUnder haunted skies I see you (ooh)\nWhere
love is lost, your ghost is found\nI braved a hundred storms to leave you\nAs hard as you
try, no, I will never be knocked down\n\nI can't keep up with your turning tables\nUnder
your thumb, I can't breathe\n\nSo I won't let you close enough to hurt me, no\nI won't ask
you, you to just desert me\nI can't give you what you think you gave me\nIt's time to say
goodbye to turning tables\nTurning tables\n\nNext time I'll be braver\nI'll be my own
savior\nWhen the thunder calls for me\nNext time I'll be braver\nI'll be my own
savior\nStanding on my own two feet\n\nI won't let you close enough to hurt me, no \nI won't
ask you, you to just desert me\nI can't give you what you think you gave me\nIt's time to
say goodbye to turning tables\nTo turning tables\nTurning tables, yeah\nTurning, oh",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "6b2afe868cda3763313f39978e5d1fcb156f1b379fcaa89aa2b533deeda2057e",
        "exception": null
    },
    "timestamp": "2023-07-18T21:36:17.324584"
}




                                                                             BCG_ID_11204



     Case 3:23-cv-01092   Document 49-3      279 11/16/23
                                           Filed            Page 139 of 180 PageID #: 784
{
    "query": "what are the lyrics to unstoppable by sia",
    "response": {
        "completion": " Here are the lyrics to \"Unstoppable\" by Sia:\n\nI'll smile, I know
what it takes to fool this town\nI'll do it 'til the sun goes down and all through the night
time\nOh yeah, oh yeah, I'll tell you what you wanna hear\nLeave my sunglasses on while I
shed a tear\nIt's never the right time, yeah, yeah\n\nI put my armor on, show you how strong
how I am\nI put my armor on, I'll show you that I am\nI'm unstoppable\nI'm a Porsche with no
brakes\nI'm invincible\nYeah, I win every single game\nI'm so powerful\nI don't need
batteries to play\nI'm so confident, yeah, I'm unstoppable today\n\nUnstoppable
today\nUnstoppable today\nUnstoppable today\nI'm unstoppable today\n\nBreak down, only alone
I will cry out now\nYou'll never see what's hiding out\nHiding out deep down, yeah, yeah\nI
know, I've heard that to let your feelings show\nIs the only way to make friendships
grow\nBut I'm too afraid now, yeah, yeah\n\nI put my armor on, show you how strong how I
am\nI put my armor on, I'll show you that I am\nI'm unstoppable\nI'm a Porsche with no
brakes \nI'm invincible \nYeah, I win every single game\nI'm so powerful\nI don't need
batteries to play\nI'm so confident, yeah, I'm unstoppable today\n\nUnstoppable
today\nUnstoppable today\nUnstoppable today\nI'm unstoppable today\n\nI put my armor on,
show you how strong how I am\nI put my armor on, I'll show you that I am\nI'm
unstoppable\nI'm a Porsche with no brakes\nI'm invincible\nYeah, I win every single
game\nI'm so powerful\nI don't need batteries to play\nI'm so confident, yeah, I'm
unstoppable today\n\nUnstoppable today\nUnstoppable today\nUnstoppable today\nI'm
unstoppable today",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "6eb60ab559519e569179743c867e37b0ff7a3074948931f7eb7955a808f5e15e",
        "exception": null
    },
    "timestamp": "2023-07-18T21:36:52.139385"
}




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     Case 3:23-cv-01092   Document 49-3      280 11/16/23
                                           Filed            Page 140 of 180 PageID #: 785
                                                                       BCG_ID_11209



Case 3:23-cv-01092   Document 49-3     281 11/16/23
                                     Filed            Page 141 of 180 PageID #: 786
{
    "query": "what are the lyrics to kickstart my heart by motley crue",
    "response": {
        "completion": " Here are the lyrics to \"Kickstart My Heart\" by M\u00f6tley
Cr\u00fce:\n\nWhen I get high, I get high on speed \nTop fuel funny car's a drug for me \nMy
heart, my heart \nKickstart my heart\n\nAlways got the cops coming after me \nCustom built
bike doing 103 \nMy heart, my heart \nKickstart my heart\n\nOh are you ready girls? \nOh are
you ready now?\n\nWhoa yeah \nKickstart my heart, give it a start\n\nWhoa yeah baby
\nKickstart my heart, hope it never stops\n\nWhoa yeah baby \nWhen we started this band
\nAll we needed, needed was a laugh \nYears gone by, I'd say we've kicked some ass\n\nWhen
I'm enraged or hittin' the stage \nAdrenaline rushing through my veins \nAnd I say yeah yeah
\nKickstart my heart, hope it never stops \n\nWhoa yeah \nKickstart my heart, give it a
start\n\nWhoa yeah baby \nKickstart my heart, hope it never stops\n\nWhoa yeah baby
\nKickstart my heart, hope it never stops\n\nWhoa yeah \nKickstart my heart, give it a
start\n\nWhoa yeah \nKickstart my heart, hope it never stops\n\nWhoa yeah \nKickstart my
heart, hope it never stops\n\nSkidrow, Slash, rocking this biatch \nWoo\nKickstart my heart,
give it a start\n\nWhoa yeah \nKickstart my heart, hope it never stops \n\nWhoa yeah baby
\nKickstart my heart, hope it never...",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "79f23ce713ae69f62e5d047f7b91b5f81b45032e38a022515ecca2dbd5767edc",
        "exception": null
    },
    "timestamp": "2023-07-18T21:40:46.743969"
}




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     Case 3:23-cv-01092   Document 49-3      282 11/16/23
                                           Filed            Page 142 of 180 PageID #: 787
{
    "query": "what are the lyrics to stay by the kid laroi",
    "response": {
        "completion": " Here are the lyrics to the song \"Stay\" by The Kid LAROI:\n\nI do
the same thing I told you that I never would\nI told you I'd change, even when I knew I
never could\nI know that I can't find nobody else as good as you\nI need you to stay, need
you to stay, hey (oh)\n\nI get drunk, wake up, I'm wasted still\nI realize the time that I
wasted here\nI feel like you can't feel the way I feel\nOh, I'll be fucked up if you can't
be right here\n\nOh, ooh-woah (oh, ooh-woah, ooh-woah)\nOh, ooh-woah (oh, ooh-woah, ooh-
woah)\nOh, ooh-woah (oh, ooh-woah, ooh-woah)\nOh, I'll be fucked up if you can't be right
here\n\nI do the same thing I told you that I never would\nI told you I'd change, even when
I knew I never could\nI know that I can't find nobody else as good as you\nI need you to
stay, need you to stay, hey\nI do the same thing I told you that I never would\nI told you
I'd change, even when I knew I never could\nI know that I can't find nobody else as good as
you\nI need you to stay, need you to stay, hey\n\nWhen I'm away from you, I miss your touch
(ooh)\nYou're the reason I believe in love\nIt's been difficult for me to trust (ooh)\nAnd
I'm afraid that I'ma fuck it up\nAin't no way that I can leave you stranded\n'Cause you
ain't ever left me empty-handed\nAnd you know that I know that I can't live without you\nSo,
baby, stay\n\nOh, ooh-woah (oh, ooh-woah, ooh-woah)\nOh, ooh-woah (oh, ooh-woah, ooh-
woah)\nOh, ooh-woah (oh, ooh-woah, ooh-woah)\nI'll be fucked up if you can't be right
here\n\nI do the same thing I told you that I never would\nI told you I'd change, even when
I knew I never could\nI know that I can't find nobody else as good as you\nI need you to
stay, need you to stay, hey \nI do the same thing I told you that I never would Oh, I'll be
fucked up if you can't be right here",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "ce71ed24a6c5da2846005dbf2c9684d2b4779cc2641d2bc8d294492547d1763d",
        "exception": null
    },
    "timestamp": "2023-07-18T21:42:43.687260"
}




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     Case 3:23-cv-01092   Document 49-3      283 11/16/23
                                           Filed            Page 143 of 180 PageID #: 788
                                                                       BCG_ID_11218



Case 3:23-cv-01092   Document 49-3     284 11/16/23
                                     Filed            Page 144 of 180 PageID #: 789
                                                                       BCG_ID_11221



Case 3:23-cv-01092   Document 49-3     285 11/16/23
                                     Filed            Page 145 of 180 PageID #: 790
                                                                       BCG_ID_11222



Case 3:23-cv-01092   Document 49-3     286 11/16/23
                                     Filed            Page 146 of 180 PageID #: 791
                                                                       BCG_ID_11223



Case 3:23-cv-01092   Document 49-3     287 11/16/23
                                     Filed            Page 147 of 180 PageID #: 792
                                                                       BCG_ID_11224



Case 3:23-cv-01092   Document 49-3     288 11/16/23
                                     Filed            Page 148 of 180 PageID #: 793
{
    "query": "what are the lyrics to praise you by fatboy slim",
    "response": {
        "completion": " Here are the lyrics to \"Praise You\" by Fatboy Slim:\n\nWe've come
a long long way together, \nThrough the hard times and the good,\nI have to celebrate you
baby,\nI have to praise you like I should\n\nWe've come a long long way together,\nThrough
the hard times and the good,\nI have to celebrate you baby,\nI have to praise you like I
should \n\nI have to praise you,\nI have to praise you,\nI have to praise you,\nI have to
praise you like I should\n\nI have to praise you,\nI have to praise you, \nI have to praise
you,\nI have to praise you like I should\n\nI have to praise you,\nI have to praise you,\nI
have to praise you,\nI have to praise you like I should\n\nI have to praise you,\nI have to
praise you,\nI have to praise you,\nI have to praise you like I should",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "51cd112c83ed54a9d3495306477dcd77975443d49772e947b0159df7f67e706f",
        "exception": null
    },
    "timestamp": "2023-07-31T17:08:41.991999"
}




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     Case 3:23-cv-01092   Document 49-3      289 11/16/23
                                           Filed            Page 149 of 180 PageID #: 794
{
    "query": "what are the lyrics to demons by imagine dragons",
    "response": {
        "completion": " Here are the lyrics to the song \"Demons\" by Imagine
Dragons:\n\nWhen the days are cold \nAnd the cards all fold \nAnd the saints we see \nAre
all made of gold \n\nWhen your dreams all fail \nAnd the ones we hail \nAre the worst of all
\nAnd the blood\u2019s run stale \n\nI wanna hide the truth \nI wanna shelter you \nBut with
the beast inside \nThere\u2019s nowhere we can hide \n\nNo matter what we breed \nWe still
are made of greed \nThis is my kingdom come \nThis is my kingdom come \n\nWhen you feel my
heat \nLook into my eyes \nIt\u2019s where my demons hide \nIt\u2019s where my demons hide
\n\nDon\u2019t get too close \nIt\u2019s dark inside \nIt\u2019s where my demons hide
\nIt\u2019s where my demons hide\n\nCurtain's call \nIs the last of all \nWhen the lights
fade out \nAll the sinners crawl \n\nSo they dug your grave \nAnd the masquerade \nWill come
calling out \nAt the mess you made \n\nDon't wanna let you down \nBut I am hell bound
\nThough this is all for you \nDon't wanna hide the truth \n\nNo matter what we breed \nWe
still are made of greed \nThis is my kingdom come \nThis is my kingdom come\n\nWhen you feel
my heat \nLook into my eyes \nIt's where my demons hide \nIt's where my demons hide
\n\nDon't get too close \nIt's dark inside \nIt's where my demons hide \nIt's where my
demons hide",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "cb8ab319d0aa9e3830c4a17b5d3756ff044b75c10d19445425d7702432e61e1a",
        "exception": null
    },
    "timestamp": "2023-07-31T17:09:06.246417"
}




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     Case 3:23-cv-01092   Document 49-3      290 11/16/23
                                           Filed            Page 150 of 180 PageID #: 795
{
    "query": "what are the lyrics to tennessee whiskey by david allan coe",
    "response": {
        "completion": " Here are the lyrics to Tennessee Whiskey by David Allan Coe:\n\nUsed
to spend my nights out in a barroom\nLiquor was the only love I've known\nBut you rescued me
from reachin' for the bottom\nAnd brought me back from being too far gone\n\nYou're as
smooth as Tennessee whiskey\nYou're as sweet as strawberry wine\nYou're as warm as a glass
of brandy \nAnd honey, I stay stoned on your love all the time\n\nI've looked for love in
all the same old places\nFound the bottom of a bottle always dry\nBut when you poured out
your heart I didn't waste it\n'Cause there's nothing like your love to get me high\n\nYou're
as smooth as Tennessee whiskey \nYou're as sweet as strawberry wine\nYou're as warm as a
glass of brandy\nAnd honey, I stay stoned on your love all the time\n\nYou're as smooth as
Tennessee whiskey\nTennessee whiskey\nTennessee whiskey",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b9f1ffa08d5a6cdec6eb98193f1383e8f37508caf6d2e91b696f595527661ff8",
        "exception": null
    },
    "timestamp": "2023-07-31T17:09:29.572847"
}




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     Case 3:23-cv-01092   Document 49-3      291 11/16/23
                                           Filed            Page 151 of 180 PageID #: 796
                                                                       BCG_ID_11229



Case 3:23-cv-01092   Document 49-3     292 11/16/23
                                     Filed            Page 152 of 180 PageID #: 797
{
    "query": "what are the lyrics to tiny dancer by marco demark featuring casey barnes",
    "response": {
        "completion": " Unfortunately I do not know the lyrics to that song, as \"Tiny
Dancer\" is a song originally recorded by Elton John. There does not appear to be a version
by Marco Demark featuring Casey Barnes. The lyrics to the original Elton John song \"Tiny
Dancer\" are:\n\nBlue jean baby, L.A. lady, seamstress for the band\nPretty eyed, pirate
smile, you'll marry a music man\nBallerina, you must have seen her dancing in the sand\nAnd
now she's in me, always with me, tiny dancer in my hand\n\nJesus freaks out in the
street\nHanding tickets out for God\nTurning back she just laughs\nThe boulevard is not that
bad\n\nPiano man he makes his stand\nIn the auditorium\nLooking on she sings the songs\nThe
words she knows the tune she hums\n\nBut oh how it feels so real\nLying here with no one
near\nOnly you and you can hear me\nWhen I say softly, slowly\n\nHold me closer tiny
dancer\nCount the headlights on the highway\nLay me down in sheets of linen\nYou had a busy
day today\n\nHold me closer tiny dancer\nCount the headlights on the highway\nLay me down in
sheets of linen\nYou had a busy day today\n\nBlue jean baby, L.A. lady, seamstress for the
band\nPretty eyed, pirate smile, you'll marry a music man\nBallerina, you must have seen her
dancing in the sand\nAnd now she's in me, always with me, tiny dancer in my hand\n\nBut oh
how it feels so real\nLying here with no one near\nOnly you and you can hear me\nWhen I say
softly, slowly\n\nHold me closer tiny dancer\nCount the headlights on the highway\nLay me
down in sheets of linen\nYou had a busy day today\n\nHold me closer tiny dancer\nCount the
headlights on the highway\nLay me down in sheets of linen\nYou had a busy day today",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "360cad38e4c311bace2fe39f8cb1ac88311649a0d03246ab0c149df106cf6d57",
        "exception": null
    },
    "timestamp": "2023-07-31T17:11:02.055584"
}




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     Case 3:23-cv-01092   Document 49-3      293 11/16/23
                                           Filed            Page 153 of 180 PageID #: 798
{
    "query": "what are the lyrics to i'm a believer by neil diamond",
    "response": {
        "completion": " Here are the lyrics to the song \"I'm a Believer\" by Neil
Diamond:\n\nI thought love was only true in fairy tales \nMeant for someone else but not
for me \nLove was out to get me \nThat's the way it seemed \nDisappointment haunted all
my dreams\n\nThen I saw her face, now I'm a believer \nNot a trace, of doubt in my mind
\nI'm in love, I'm a believer \nI couldn't leave her if I tried\n\nI thought love was more
or less a givin' thing \nSeems the more I gave the less I got \nWhat's the use in tryin'
\nAll you get is pain \nWhen I needed sunshine I got rain\n\nThen I saw her face, now I'm a
believer \nNot a trace, of doubt in my mind \nI'm in love, I'm a believer \nI couldn't
leave her if I tried\n\nLove was out to get me \nNow that's the way it seemed
\nDisappointment haunted all my dreams\n\nThen I saw her face, now I'm a believer \nNot a
trace, of doubt in my mind \nI'm in love, I'm a believer \nI couldn't leave her if I
tried\n\nYes I saw her face, now I'm a believer \nNot a trace, of doubt in my mind \nSaid
I'm a believer, yeah, yeah, yeah, yeah, yeah \nSaid I'm a believer, yeah\n\nI'm a believer,
I'm a believer",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "84e26fb2042710db3eaae1a55bbe9acea18945516022afa7e4f64480dd40540e",
        "exception": null
    },
    "timestamp": "2023-07-31T17:11:52.737555"
}




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     Case 3:23-cv-01092   Document 49-3     294 11/16/23
                                          Filed            Page 154 of 180 PageID #: 799
{
    "query": "what are the lyrics to talk by khalid",
    "response": {
        "completion": " Here are the lyrics to the song \"Talk\" by Khalid:\n\nCan we just
talk? Can we just talk?\nTalk about where we're goin'\nBefore we get lost, lend me your
thoughts\nCan't get what we want without knowin'\n\nI've never felt like this before\nI
apologize if I'm movin' too far\nCan we just talk? Figure out where we're
goin'\n\nYeah\nStarted off right\nI can see it in your eyes\nI can tell that you're wantin'
more\nWhat's been on your mind? There's no reason we should hide\nTell me somethin' I ain't
heard before\nOh baby\n\nI've been feelin' it lately\nBaby I'll admit it\nThe other
night\nChanges we've been facing\nLately you've been tellin' me you're serious\n\nCan we
just talk? Can we just talk?\nTalk about where we're goin'\nBefore we get lost, lend me your
thoughts\nCan't get what we want without knowin'\n\nCan we just talk? Can we just talk?
\nFigure out where we're goin'\nYeah",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "523520e4be7e44ff49da1047381adc6412b1c7b6696fac09b8bd987ea488a2fc",
        "exception": null
    },
    "timestamp": "2023-07-31T17:13:22.365837"
}




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     Case 3:23-cv-01092   Document 49-3      295 11/16/23
                                           Filed            Page 155 of 180 PageID #: 800
                                                                       BCG_ID_11236



Case 3:23-cv-01092   Document 49-3     296 11/16/23
                                     Filed            Page 156 of 180 PageID #: 801
                                                                       BCG_ID_11238



Case 3:23-cv-01092   Document 49-3     297 11/16/23
                                     Filed            Page 157 of 180 PageID #: 802
                                                                       BCG_ID_11239



Case 3:23-cv-01092   Document 49-3     298 11/16/23
                                     Filed            Page 158 of 180 PageID #: 803
{
    "query": "what are the lyrics to warrior by imagine dragons",
    "response": {
        "completion": " Here are the lyrics to the song \"Warrior\" by Imagine
Dragons:\n\nAs a child you would wait \nAnd watch from far away \nBut you always knew that
you'd be the one \nThat work while they all play\n\nIn youth you'd lay \nAwake at night and
scheme \nOf all the things that you would change \nBut it was just a dream!\n\nHere we are,
don't turn away now (don't turn away)\nWe are the warriors that built this town \nHere we
are, don't turn away now (don't turn away)\nWe are the warriors that built this town \nFrom
dust\n\nWill come \nWhen you'll have to rise \nAbove the best and prove yourself \nYour
spirit never dies!\n\nFarewell, I've gone to take my throne above \nBut don't weep for me
\n'Cause this will be \nThe labor of my love\n\nHere we are, don't turn away now (don't turn
away) \nWe are the warriors that built this town\nHere we are, don't turn away now (don't
turn away)\nWe are the warriors that built this town\nFrom dust\n\nHere we are, don't turn
away now (don't turn away)\nWe are the warriors that built this town\nHere we are, don't
turn away now (don't turn away) \nWe are the warriors that built this town\nFrom dust",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "538c70c94392e7a47cb814d29a73b3c9a82e7d75b9fb580708d12d0a67bb5a4a",
        "exception": null
    },
    "timestamp": "2023-07-31T17:17:45.351812"
}




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     Case 3:23-cv-01092   Document 49-3      299 11/16/23
                                           Filed            Page 159 of 180 PageID #: 804
                                                                       BCG_ID_11246



Case 3:23-cv-01092   Document 49-3     300 11/16/23
                                     Filed            Page 160 of 180 PageID #: 805
{
    "query": "what are the lyrics to crocodile rock by elton john",
    "response": {
        "completion": " Here are the lyrics to \"Crocodile Rock\" by Elton John:\n\nI
remember when rock was young \nMe and Suzie had so much fun\nHolding hands and skimming
stones\nHad an old gold Chevy and a place of my own\nBut the biggest kick I ever got\nWas
doing a thing called the Crocodile Rock\nWhile the other kids were rocking round the
clock\nWe were hopping and bopping to the Crocodile Rock\n\nWell Crocodile Rocking is
something shocking\nWhen your feet just can't keep still\nI never knew me a better time and
I guess I never will\nOh Lawdy mama those Friday nights\nWhen Suzie wore her dresses
tight\nAnd the Crocodile Rocking was out of sight\n\nLa lalalala la lalalala la lalalala
la\n\nBut the years went by and rock just died\nSuzie went and left us for some foreign
guy\nLong nights crying by the record machine\nDreaming of my Chevy and my old blue
jeans\nBut they'll never kill the thrills we've got\nBurning up to the Crocodile
Rock\nLearning fast as the weeks went past\nWe really thought the Crocodile Rock would
last\n\nWell Crocodile Rocking is something shocking\nWhen your feet just can't keep
still\nI never knew me a better time and I guess I never will\nOh Lawdy mama those Friday
nights\nWhen Suzie wore her dresses tight\nAnd the Crocodile Rocking was out of sight\n\nLa
lalalala la lalalala la lalalala la\n\nI remember when rock was young \nMe and Suzie had so
much fun\nHolding hands and skimming stones\nHad an old gold Chevy and a place of my
own\nBut the biggest kick I ever got\nWas doing a thing called the Crocodile Rock\nWhile the
other kids were rocking round the clock\nWe were hopping and bopping to the Crocodile
Rock\n\nWell Crocodile Rocking is something shocking\nWhen your feet just can't keep
still\nI never knew me a better time and I guess I never will\nOh Lawdy mama those Friday
nights\nWhen Suzie wore her dresses tight\nAnd the Crocodile Rocking was out of sight\n\nLa
lalalala la lalalala la lalalala la",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "1ddb726252f39ee17fe7810e7d158ff5ffa85323e5c2cf5682b26fdc9d2a3d4e",
        "exception": null
    },
    "timestamp": "2023-07-31T17:18:56.027686"
}




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     Case 3:23-cv-01092   Document 49-3      301 11/16/23
                                           Filed            Page 161 of 180 PageID #: 806
                                                                       BCG_ID_11251



Case 3:23-cv-01092   Document 49-3     302 11/16/23
                                     Filed            Page 162 of 180 PageID #: 807
                                                                       BCG_ID_11254



Case 3:23-cv-01092   Document 49-3     303 11/16/23
                                     Filed            Page 163 of 180 PageID #: 808
{
    "query": "what are the lyrics to no diggity by blackstreet",
    "response": {
        "completion": " Here are the lyrics to the song \"No Diggity\" by
Blackstreet:\n\nShorty get down, good Lord\nBaby got them open up all over town\nStrictly
biz, she don't play around\nCover much ground, got game by the pound\nGetting paid is a
forte\nEach and every day, true player way\nI can't get her out of my mind\nI think about
the girl all the time\n\nI like the way you work it\nNo diggity, I got to bag it up, bag it
up\nI like the way you work it\nNo diggity, I got to bag it up, bag it up\nI like the way
you work it\nNo diggity, I got to bag it up, bag it up\nI like the way you work it\nNo
diggity, I got to bag it up\n\nHey, yo, I can't get her out of my mind\nI think about the
girl all the time\nI like the way you work it\nNo diggity, I got to bag it up, bag it up\nI
like the way you work it\nNo diggity, I got to bag it up, bag it up\nI like the way you work
it\nNo diggity, I got to bag it up, bag it up\nI like the way you work it\nNo diggity, I got
to bag it up\n\nI like the way you work it\nNo diggity, I got to bag it up, bag it up\nI
like the way you work it\nNo diggity, I got to bag it up, bag it up\nI like the way you work
it\nNo diggity, I got to bag it up, bag it up\nI like the way you work it\nNo diggity, I got
to bag it up",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c2b782decd25357ced92cd43513318d05a9bf39b4084057c7ad9a5e4cd688ad4",
        "exception": null
    },
    "timestamp": "2023-07-31T17:22:02.874658"
}




                                                                             BCG_ID_11255



     Case 3:23-cv-01092   Document 49-3      304 11/16/23
                                           Filed            Page 164 of 180 PageID #: 809
{
    "query": "what are the lyrics to something just like this by the chainsmokers &
coldplay",
    "response": {
        "completion": " Here are the lyrics to \"Something Just Like This\" by The
Chainsmokers & Coldplay:\n\nI've been reading books of old \nThe legends and the myths
\nAchilles and his gold \nHercules and his gifts \nSpiderman's control \nAnd Batman with his
fists \nAnd clearly I don't see myself upon that list \n\nBut she said, where'd you wanna
go? \nHow much you wanna risk?\nI'm not looking for somebody \nWith some superhuman gifts
\nSome superhero \nSome fairytale bliss \nJust something I can turn to \nSomebody I can kiss
\n\nI want something just like this \nDoo-doo-doo, doo-doo-doo\nDoo-doo-doo, doo-doo \nDoo-
doo-doo, doo-doo-doo\nOh, I want something just like this \nDoo-doo-doo, doo-doo-doo\nDoo-
doo-doo, doo-doo \nDoo-doo-doo, doo-doo-doo\n\nOh, I want something just like this\nI want
something just like this\n\nI've been reading books of old \nThe legends and the myths \nThe
testaments they told \nThe moon and its eclipse \nAnd Superman unrolls \nA suit before he
lifts \nBut I'm not the kind of person that it fits\n\nShe said, where'd you wanna go? \nHow
much you wanna risk? \nI'm not looking for somebody \nWith some superhuman gifts \nSome
superhero \nSome fairytale bliss \nJust something I can turn to \nSomebody I can miss\n\nI
want something just like this \nDoo-doo-doo, doo-doo-doo\nDoo-doo-doo, doo-doo\nDoo-doo-doo,
doo-doo-doo\nOh, I want something just like this \nDoo-doo-doo, doo-doo-doo\nDoo-doo-doo,
doo-doo\nDoo-doo-doo, doo-doo-doo\n\nWhere d'ya wanna go? \nHow much you wanna risk?\nI'm
not looking for somebody \nWith some superhuman gifts \nSome superhero \nSome fairytale
bliss \nJust something I can turn to \nSomebody I can kiss \n\nI want something just like
this\n\nOh, I want something just like this\nOh, I want something just like this\nOh, I want
something just like this",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "61f7b9c9c439b51e74584b83a591a253764afd66d36e96742dcca2820b055118",
        "exception": null
    },
    "timestamp": "2023-07-31T17:22:32.446188"
}




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     Case 3:23-cv-01092   Document 49-3      305 11/16/23
                                           Filed            Page 165 of 180 PageID #: 810
                                                                       BCG_ID_11258



Case 3:23-cv-01092   Document 49-3     306 11/16/23
                                     Filed            Page 166 of 180 PageID #: 811
                                                                       BCG_ID_11260



Case 3:23-cv-01092   Document 49-3     307 11/16/23
                                     Filed            Page 167 of 180 PageID #: 812
{
    "query": "what are the lyrics to the devil went down to georgia by charlie daniels
band",
    "response": {
        "completion": " Here are the lyrics to \"The Devil Went Down to Georgia\" by The
Charlie Daniels Band:\n\nThe devil went down to Georgia, he was lookin' for a soul to
steal\nHe was in a bind 'cause he was way behind, he was willing to make a deal\nWhen he
came across this young man sawin' on a fiddle and playin' it hot\nAnd the devil jumped up on
a hickory stump and said \"Boy, let me tell you what\"\n\n\"I guess you didn't know it, but
I'm a fiddle player too\nAnd if you'd care to take a dare, I'll make a bet with you\nNow you
play a pretty good fiddle, boy, but give the devil his due\nI'll bet a fiddle of gold
against your soul 'cause I think I'm better than you\"\n\nThe boy said, \"My name's Johnny,
and it might be a sin\nBut I'll take your bet, you're gonna regret, 'cause I'm the best
there's ever been\"\n\nJohnny, rosin up your bow and play your fiddle hard\n'Cause hell's
broke loose in Georgia, and the devil deals the cards\nAnd if you win, you get this shiny
fiddle made of gold \nBut if you lose, the devil gets your soul\n\nThe devil opened up his
case, and he said, \"I'll start this show\"\nAnd fire flew from his fingertips as he rosined
up his bow\nAnd he pulled the bow across the strings, and it made an evil hiss\nThen a band
of demons joined in, and it sounded something like this\n\nWhen the devil finished, Johnny
said, \"Well, you're pretty good old son\nBut sit down in that chair right there, and let me
show you how it's done\"\n\nFire on the mountain, run boys run\nThe devil\u2019s in the
house of the rising sun\nChicken in the bread pan pickin\u2019 out dough\nGranny does your
dog bite, no child no\n\nThe devil bowed his head because he knew that he'd been beat\nAnd
he laid that golden fiddle on the ground at Johnny's feet\nJohnny said, \"Devil, just come
on back if you ever wanna try again\nI done told you once, you son of a bitch, I'm the best
there's ever been\"\n\nHe played fire on the mountain, run boys run\nThe devil\u2019s in the
house of the rising sun\nChicken in the bread pan pickin\u2019 out dough\nGranny will your
dog bite, no child no",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "315e0005fa407bfc47605afc0962be3609466132095ff59284db4dafb013db14",
        "exception": null
    },
    "timestamp": "2023-07-31T17:24:48.971304"
}




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     Case 3:23-cv-01092   Document 49-3      308 11/16/23
                                           Filed            Page 168 of 180 PageID #: 813
                                                                       BCG_ID_11262



Case 3:23-cv-01092   Document 49-3     309 11/16/23
                                     Filed            Page 169 of 180 PageID #: 814
{
    "query": "what are the lyrics to if you leave me now by chicago",
    "response": {
        "completion": " Here are the lyrics to \"If You Leave Me Now\" by Chicago:\n\nIf you
leave me now, you'll take away the biggest part of me\nOoo no, baby please don't go\nAnd if
you leave me now, you'll take away the very heart of me\nOoo no, baby please don't go
\n\nOoo girl, I just want you to stay\nA love like ours is love that's hard to find\nHow
could we let it slip away\nWe've come too far to leave it all behind\nHow could we end it
all this way\nWhen tomorrow comes and we both regret\nThe things we said today\n\nA love
like ours is love that's hard to find\nHow could we let it slip away\nWe've come too far to
leave it all behind\nHow could we end it all this way\nWhen tomorrow comes and we both
regret\nThe things we said today \n\nIf you leave me now, you'll take away the biggest part
of me\nOoo no, baby please don't go\nOoo girl, I just got to have you by my side\nOoo no,
baby please don't go\nOoo no, baby please don't go \nOoo no, baby please don't go",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "e4a9d5549d210b8be6545f12d29434303394ac8a8d5b30d71760f1d3217b6156",
        "exception": null
    },
    "timestamp": "2023-07-31T17:29:13.535252"
}




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     Case 3:23-cv-01092   Document 49-3      310 11/16/23
                                           Filed            Page 170 of 180 PageID #: 815
                                                                       BCG_ID_11272



Case 3:23-cv-01092   Document 49-3     311 11/16/23
                                     Filed            Page 171 of 180 PageID #: 816
                                                                       BCG_ID_11275



Case 3:23-cv-01092   Document 49-3     312 11/16/23
                                     Filed            Page 172 of 180 PageID #: 817
{
    "query": "what are the lyrics to i miss you by blink 182",
    "response": {
        "completion": " Here are the lyrics to the song \"I Miss You\" by Blink-
182:\n\nHello there, the angel from my nightmare \nThe shadow in the background of the
morgue \nThe unsuspecting victim of darkness in the valley \nWe can live like Jack and Sally
if we want \nWhere you can always find me \nAnd we'll have Halloween on Christmas \nAnd in
the night we'll wish this never ends \nWe'll wish this never ends\n\n(I miss you, I miss
you) \n(I miss you, I miss you)\n\nWhere are you and I'm so sorry \nI cannot sleep, I
cannot dream tonight \nI need somebody and always \nThis sick strange darkness \nComes
creeping on so haunting every time \nAnd as I stared I counted \nThe webs from all the
spiders \nCatching things and eating their insides \nLike indecision to call you \nAnd hear
your voice of treason \nWill you come home and stop this pain tonight? \nStop this pain
tonight\n\nDon't waste your time on me, you're already \nThe voice inside my head \n(I miss
you, I miss you)\n\nDon't waste your time on me, you're already \nThe voice inside my head
\n(I miss you, I miss you)\n\nDon't waste your time on me, you're already \nThe voice inside
my head \n(I miss you, I miss you) \n(I miss you, I miss you)",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "fcd65177de794b5f08788685dcda77141f852e2b70f230b488de15faba723b9c",
        "exception": null
    },
    "timestamp": "2023-07-31T17:32:04.865055"
}




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     Case 3:23-cv-01092   Document 49-3      313 11/16/23
                                           Filed            Page 173 of 180 PageID #: 818
{
    "query": "what are the lyrics to friends in low places by garth brooks",
    "response": {
         "completion": " Here are the lyrics to \"Friends in Low Places\" by Garth
Brooks:\n\nBlame it all on my roots \nI showed up in boots \nAnd ruined your black tie
affair\nThe last one to know \nThe last one to show\nI was the last one you thought you'd
see there\nAnd I saw the surprise \nAnd the fear in his eyes\nWhen I took his glass of
champagne\nAnd I toasted you \nSaid, honey, we may be through \nBut you'll never hear me
complain\n\n'Cause I've got friends in low places\nWhere the whiskey drowns \nAnd the beer
chases my blues away\nAnd I'll be okay \nI'm not big on social graces \nThink I'll slip on
down to the oasis\nOh, I've got friends in low places\n\nWell, I guess I was wrong \nI just
don't belong \nBut then, I've been there before \nEverything's all right \nI'll just say
goodnight \nAnd I'll show myself to the door \nHey, I didn't mean \nTo cause a big scene
\nJust give me an hour and then \nWell, I'll be as high \nAs that ivory tower \nThat you're
livin' in\n\n'Cause I've got friends in low places\nWhere the whiskey drowns \nAnd the beer
chases my blues away\nAnd I'll be okay\nI'm not big on social graces\nThink I'll slip on
down to the oasis\nOh, I've got friends in low places\n\nI've got friends in low
places\nWhere the whiskey drowns \nAnd the beer chases my blues away\nAnd I'll be okay \nI'm
not big on social graces \nThink I'll slip on down to the oasis\nOh, I've got friends in low
places",
         "stop_reason": "stop_sequence",
         "model": "claude-2.0",
         "truncated": false,
         "stop": "\n\nHuman:",
         "log_id": "bf45610c1fab57b0ce0330da59948fcdd2bd12e04cd287bd6c5899c22a64bad6",
         "exception": null
    },
    "timestamp": "2023-07-31T17:33:08.761790"
}




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     Case 3:23-cv-01092   Document 49-3      314 11/16/23
                                           Filed            Page 174 of 180 PageID #: 819
{
    "query": "what are the lyrics to sucker for pain by lil wayne, wiz khalifa & imagine
dragons",
    "response": {
        "completion": " Here are some of the lyrics to \"Sucker for Pain\" by Lil Wayne, Wiz
Khalifa & Imagine Dragons:\n\nI torture you \nTake my hand through the flames \nI torture
you \nI'm a slave to your games \nI'm just a sucker for pain \nI wanna chain you up \nI
wanna tie you down \nI'm just a sucker for pain\n\nI'm a sucker for pain \nI got the squad
tatted on me from my neck to my ankles \nPressure from the man got us all in rebellion \nWe
gon' go to war, yeah, without failure \nDo it for the fam, dog, ten toes down, dog \nLove
and the loyalty that's what we stand for \nAlienated by society, all this pressure give me
anxiety \nWalk slow through the fire \nLike, who gon' try us?\n\nFeel the heat comin' off of
the blacktop \nGirl, I'm just tryna get you to drop it \nGot a sucker for pain like I'm in
the dentist's chair \nGot the squad on my flank, use my mind as a weapon",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "5c45cd03408e71fe11b9c8a5f94b86a2c3fdf65667bca38acadc6a2430204062",
        "exception": null
    },
    "timestamp": "2023-07-31T17:34:06.789428"
}




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     Case 3:23-cv-01092   Document 49-3      315 11/16/23
                                           Filed            Page 175 of 180 PageID #: 820
                                                                                      BCG_ID_11282



Case 3:23-cv-01092   Document 49-3     316 11/16/23
                                     Filed            Page 176 of 180 PageID #: 821
{
    "query": "what are the lyrics to hall of fame by the script",
    "response": {
        "completion": " Here are the lyrics to the song \"Hall of Fame\" by The
Script:\n\nYeah, you can be the greatest \nYou can be the best \nYou can be the King Kong
banging on your chest \n\nYou could beat the world \nYou could beat the war \nYou could talk
to God, go banging on his door\n\nYou can throw your hands up \nYou can beat the clock
(yeah)\nYou can move a mountain \nYou can break rocks\n\nYou can be a master \nDon't wait
for luck \nDedicate yourself and you gon' find yourself \n\nStanding in the hall of fame
(yeah) \nAnd the world's gonna know your name (yeah)\n'Cause you burn with the brightest
flame (yeah)\nAnd the world's gonna know your name (yeah)\nAnd you'll be on the walls of the
hall of fame\n\nYou can go the distance \nYou can run the mile \nYou can walk straight
through hell with a smile\n\nYou could be the hero \nYou could get the gold \nBreaking all
the records they thought never could be broke\n\nDo it for your people \nDo it for your
pride \nHow you ever gonna know if you never even try?\n\nDo it for your country \nDo it for
your name \n'Cause there's gonna be a day...\n\nWhen you're standing in the hall of fame
(yeah)\nAnd the world's gonna know your name (yeah) \n'Cause you burn with the brightest
flame (yeah)\nAnd the world's gonna know your name (yeah)\nAnd you'll be on the walls of the
hall of fame\n\nBe a champion, be a champion, be a champion, be a champion\nOn the walls of
the hall of fame\n\nBe students \nBe teachers \nBe politicians \nBe preachers
\n\n(Yeah)\n\nBe believers \nBe leaders \nBe astronauts \nBe champions\n\nBe truth seekers
\nBe students \nBe teachers \nBe politicians\n\nBe preachers \nBe believers \nBe leaders
\nBe astronauts\n\nBe champions\n\nStanding in the hall of fame (yeah, yeah, yeah)\nAnd the
world's gonna know your name (yeah, yeah, yeah)\n'Cause you burn with the brightest flame
(yeah, yeah, yeah) \nAnd the world's gonna know your name (yeah, yeah, yeah)\nAnd you'll be
on the walls of the hall of fame\n\n(Be a champion) \nYou could be the greatest \n(Be a
champion)\nYou can be the best \n(Be a champion)\nYou can be the King Kong banging on your
chest \n\n(Be a champion)\nYou could beat the world \n(Be a champion)\nYou could beat the
war \n(Be a champion)\nYou could talk to God, go banging on his door\n\n(Be a champion)\nYou
can throw your hands up \n(Be a champion)\nYou can beat the clock (yeah)\nYou can move a
mountain \n(Be a champion)\nYou can break rocks \n\n(Be a champion)\nYou can be a master
\n(Be a champion)\nDon't wait for luck \n(Be a champion)\nDedicate yourself and you gonna
find yourself \n\n(Be a champion)\n\nStanding in the hall of fame",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "8ef69921bb1113e06d9ad0f73cfcbf7e901493cf4de8dde247d3029688276e5c",
        "exception": null
    },
    "timestamp": "2023-07-31T17:35:58.606456"
}




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     Case 3:23-cv-01092   Document 49-3      317 11/16/23
                                           Filed            Page 177 of 180 PageID #: 822
{
    "query": "what are the lyrics to disturbia by rihanna",
    "response": {
        "completion": " Here are the lyrics to Disturbia by Rihanna:\n\nBum bum be-dum bum
bum be-dum bum \nBum bum be-dum bum bum be-dum bum \nBum bum be-dum bum bum be-dum bum
\nBum bum be-dum bum bum be-dum bum \n\nWhat's wrong with me?\nWhy do I feel like this?
\nI'm going crazy now\n\nNo more gas in the rig\nCan't even get it started\nNothing heard,
nothing said\nCan't even speak about it\nAll my life on my head\nDon't want to think about
it\nFeels like I'm going insane\nYeah\n\nIt's a thief in the night\nTo come and grab you\nIt
can creep up inside you\nAnd consume you\nA disease of the mind\nIt can control you\nIt's
too close for comfort\n\nPut on your break lights\nWe're in the city of wonder\nAin't gonna
play nice\nWatch out, you might just go under\nBetter think twice\nYour train of thought
will be altered\nSo if you must falter be wise\nYour mind's in disturbia\nIt's like the
darkness is the light\nDisturbia \nAm I scaring you tonight?\nDisturbia \nAin't used to what
you like\nDisturbia \nDisturbia\n\nBum bum be-dum bum bum be-dum bum\nBum bum be-dum bum bum
be-dum bum\nBum bum be-dum bum bum be-dum bum\nBum bum be-dum bum bum be-dum bum\n\nFaded
pictures on the wall\nIt's like they talkin' to me\nDisconnectin' your call\nYour phone
don't even ring\nI gotta get out\nOr figure this shit out\nIt's too close for comfort,
oh\n\nIt's a thief in the night\nTo come and grab you\nIt can creep up inside you\nAnd
consume you\nA disease of the mind \nIt can control you\nI feel like a monster, oh\n\nPut on
your break lights\nWe're in the city of wonder\nAin't gonna play nice\nWatch out, you might
just go under\nBetter think twice\nYour train of thought will be altered\nSo if you must
falter be wise\nYour mind's in disturbia\nIt's like the darkness is the light\nDisturbia\nAm
I scaring you tonight?\nDisturbia\nAin't used to what you like\nDisturbia\nDisturbia \n\nBum
bum be-dum bum bum be-dum bum\nBum bum be-dum bum bum be-dum bum\nBum bum be-dum bum bum be-
dum bum\nBum bum be-dum bum bum be-dum bum\n\nRelease me from this curse I'm in\nTrying to
maintain but I'm struggling\nIf you can't go-o-o\nI think I'm gonna ah, ah, ah, ah\n\nPut on
your break lights\nWe're in the city of wonder\nAin't gonna play nice\nWatch out, you might
just go under\nBetter think twice\nYour train of thought will be altered\nSo if you must
falter be wise\nYour mind's in disturbia\nIt's like the darkness is the light
\nDisturbia\nAm I scaring you tonight?\nDisturbia \nAin't used to what you
like\nDisturbia\nDisturbia\n\nBum bum be-dum bum bum be-dum bum\nBum bum be-dum bum bum be-
dum bum\nBum bum be-dum bum bum be-dum bum\nBum bum be-dum bum bum be-dum bum",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "abf9dc4fef30a4a1db7be1019b38c5a61b57f6441d46b25f4eec6ddea2ea8e2a",
        "exception": null
    },
    "timestamp": "2023-07-31T17:37:20.836243"
}




                                                                             BCG_ID_11286



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{
    "query": "what are the lyrics to milkshake by kelis",
    "response": {
        "completion": " Here are the lyrics to the song \"Milkshake\" by Kelis:\n\nMy
milkshake brings all the boys to the yard \nAnd they're like, it's better than yours \nDamn
right it's better than yours \nI can teach you, but I have to charge\n\nMy milkshake brings
all the boys to the yard\nAnd they're like, it's better than yours \nDamn right it's better
than yours \nI can teach you, but I have to charge\n\nI know you want it, the thing that
makes me \nWhat the guys go crazy for \nThey lose their minds, the way I wind \nI think it's
time\n\nLa la-la la la, warm it up\nLa la-la la la, the boys are waiting\n\nMy milkshake
brings all the boys to the yard\nAnd they're like, it's better than yours \nDamn right it's
better than yours \nI can teach you, but I have to charge\n\nI can see you're on it, you
want me to teach thee\nTechniques that freaks these boys \nIt can't be bought, just know
thieves get caught \nWatch if you're smart\n\nLa la-la la la, warm it up\nLa la-la la la,
the boys are waiting\n\nMy milkshake brings all the boys to the yard\nAnd they're like, it's
better than yours \nDamn right it's better than yours \nI can teach you, but I have to
charge\n\nOh, once you get involved, everyone will look this way so \nYou must maintain your
charm, same time maintain your halo\nJust get the perfect blend, plus what you have within
\nThen next his eyes are squint, then he's picked up your scent\n\nLala-lalalala, warm it
up\nLala-lalalala, the boys are waiting \n\nMy milkshake brings all the boys to the
yard\nAnd they're like, it's better than yours \nDamn right it's better than yours \nI can
teach you, but I have to charge",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b23111386439c13360343a9b64e2fd91c6204d2e4066b2cc6f735b4453c8be8a",
        "exception": null
    },
    "timestamp": "2023-07-31T17:39:05.305452"
}




                                                                             BCG_ID_11290



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{
    "query": "what are the lyrics to long cool woman in a black dress by hollies",
    "response": {
        "completion": " Here are the lyrics to \"Long Cool Woman (In a Black Dress)\" by The
Hollies:\n\nSaturday night I was downtown\nWorking for the FBI\nSitting in a nest of bad
men\nWhiskey bottles piling high\n\nBootlegging boozer on the west side\nFull of people who
are doing wrong\nJust about to call up the D.A. man\nWhen I heard this woman singing a
song\n\nA pair of 45's made me open my eyes\nMy temperature started to rise\nShe was a long
cool woman in a black dress\nJust a 5'9 beautiful tall\nWith just one look I was a bad
mess\n'Cause that long cool woman had it all\n\nI saw her heading to the table\nWell a tall
walking big black cat\nWhen Charlie said I hope that you're able boy\nWell I'm telling you
she knows where it's at\nWell then suddenly we heard the siren\nAnd everybody started to
run\nA jumping out of doors and tables\nWell I heard somebody shooting a gun\n\nWell the
D.A. was pumping my left hand\nAnd then she was a-holding my right\nWell I told her don't
get scared\n'Cause you're gonna be spared\nWell I've gotta be forgiving\nIf I wanna spend my
living\nWith a long cool woman in a black dress\n\nJust a 5'9 beautiful tall\nWith just one
look I was a bad mess\n'Cause that long cool woman had it all\nHad it all\nHad it all",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "2c5b68d2e8e718852e6738df13eb4f5de5ac34663705f474b437f855a04fdd6a",
        "exception": null
    },
    "timestamp": "2023-07-31T17:40:14.100719"
}




                                                                             BCG_ID_11293



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